     Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 1 of 63 Page ID #:220



 1     SEYFARTH SHAW LLP
       William J. Dritsas (SBN 97523)
 2     wdritsas@seyfarth.com
       Eric E. Hill (SBN 173247)
 3     ehill@seyfarth.com
       560 Mission Street, 31st Floor
 4     San Francisco, CA 94105-2930
       Telephone: (415) 397-2823
 5     Facsimile: (415) 397-8549
 6     Attorneys for Defendants
       TGF MANAGEMENT GROUP HOLDCO, INC.,
 7     TOLL GLOBAL FORWARDING (USA) INC.,
       and INSPERITY PEO SERVICES, L.P.
 8
 9
10                                   UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
12
13     CARLOS MARQUEZ, an individual and                 Case No. 2:18-cv-03054 ODW (ASx)
       on behalf of all others similarly situated,
14
                        Plaintiff,                       CLASS ACTION
15
                 v.                                      REQUEST FOR JUDICIAL
16                                                       NOTICE IN SUPPORT OF
       TOLL GLOBAL FORWARDING (USA)                      DEFENDANTS’ MOTION TO
17     INC., a corporation; TGF                          DISMISS PLAINTIFF’S
       MANAGEMENT GROUP HOLDCO,                          COMPLAINT
18     INC., a corporation; INSPERITY
       EXPENSE MANAGEMENT, INC.; and                     Date:    June 25, 2018
19     DOES 1 through 50, inclusive,                     Time:    1:30 p.m.
                                                         Dept:    Courtroom 5D, 5th Floor
20                      Defendants.                      Judge:   Hon. Otis D. Wright, II
21
22
                Pursuant to Federal Rule of Evidence 201, Defendants TGF MANAGEMENT
23
       GROUP HOLDCO, INC., TOLL GLOBAL FORWARDING (USA) INC., and
24
       INSPERITY PEO SERVICES, L.P. (“Defendants”) request that this Court take judicial
25
       notice of the following documents:
26
27
28
                                                     1
           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                               COMPLAINT
       45839055v.1
     Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 2 of 63 Page ID #:221



 1              Exhibit 1: The current collective bargaining agreement between TGF Management
 2     Group Holdco, Inc. and the International Brotherhood of Teamsters Local 848 (“IBT”),
 3     signed June 3, 2016.
 4              Exhibit 2: The prior collective bargaining agreement between TGF Management
 5     Group Holdco, Inc. and the International Brotherhood of Teamsters Local 848, signed
 6     March 5, 2013 and effective through December 31, 2015.
 7              Federal Rule of Evidence 201(b) provides the following: “The court may judicially
 8     notice a fact that is not subject to reasonable dispute because it: (1) is generally known
 9     within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
10     determined from sources whose accuracy cannot reasonably be questioned.” A court
11     considering a motion to dismiss on the grounds of federal preemption under Section 301
12     of the Labor Management Relations Act (29 U.S.C. § 185) may take judicial notice of the
13     existence of, as well as provisions in, a collective bargaining agreement. Fed. R. Evid.
14     201(b); See e.g., Pennsylvania R. Co. v. Day, 360 U.S. 548, 553 (1959) (“We can take
15     judicial notice of the fact that provisions in railroad collective bargaining agreements are
16     of a specialized technical nature calling for specialized technical knowledge in
17     ascertaining their meaning and application.”); Busey v. P.W. Supermarkets, Inc., 368 F.
18     Supp. 2d 1045, 1049 (N.D. Cal. 2005) (“This Court also grants Defendants' request for
19     judicial notice of the collective bargaining agreement between P.W. Supermarkets and
20     Plaintiff's Union, the Bakery, Confectionery and Tobacco Workers' International Union,
21     Local 24 AFL-CIO, CLC.”); Pierce v. Kaiser Found. Hosps., 2009 U.S. Dist. LEXIS
22     101679 (N.D. Cal. Oct. 19, 2009). In particular, a court may take judicial notice of a
23     CBA in evaluating a motion to dismiss. See Jones v. AT&T, 2008 WL 902292, at *2
24     (N.D. Cal. Mar. 31, 2008) (“the Court may take judicial notice of a CBA in evaluating a
25     motion to dismiss”); Hall v. Live Nation Worldwide, Inc., 146 F. Supp.3d 1187, 1192-3
26     (C.D. Cal. Nov. 12, 2015).
27
28
                                                     2
           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                               COMPLAINT
       45839055v.1
     Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 3 of 63 Page ID #:222



 1              The CBA between Toll and IBT is judicially noticeable because its existence and
 2     contents are “not subject to reasonable dispute” and “can be accurately and readily
 3     determined from sources whose accuracy cannot reasonably be questioned.”
 4      DATED: May 18, 2018                     SEYFARTH SHAW LLP
 5
 6                                              By: /s/ Eric E. Hill
 7                                                    William J. Dritsas
                                                      Eric E. Hill
 8                                              Attorneys for Defendants
                                                TGF MANAGEMENT GROUP HOLDCO,
 9                                              INC., TOLL GLOBAL FORWARDING (USA)
                                                INC., and INSPERITY PEO SERVICES, L.P.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                    3
           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                               COMPLAINT
       45839055v.1
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 4 of 63 Page ID #:223




    EXHIBIT 1




                                                         EXHIBIT 1


                                 Exhibit 1, p. 4
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 5 of 63 Page ID #:224




                                TABLE OF CONTENTS

                                                                       Page

     PREAMBLE                                                             1

     ARTICLE 1 — RECOGNITION                                              1

     ARTICLE 2 — UNION SECURITY                                           1

     ARTICLE 3 — CHECK-OFF                                                2

     ARTICLE 4 — D.R.I.V.E. DEDUCTIONS                                    3

     ARTICLE 5 — SHOP STEWARDS                                            4

     ARTICLE 6 — ACCESS TO THE EMPLOYER’S PREMISES                        5

     ARTICLE 7 — SENIORITY,                                               6

     ARTICLE 8 — MANAGEMENT RIGHTS                                        8

     ARTICLE 9 — NO STRIKE — NO LOCKOUT                                   8

     ARTICLE 10 — COMPANY RULES AND POSTINGS                              9

     ARTICLE 11 — DISCIPLINE & DISCHARGE                                  9

     ARTICLE 12 — GRIEVANCE & ARBITRATION                                12

     ARTICLE 13 — SUCCESSORS & ASSIGNS                                   13

     ARTICLE 14 — WORK JURISDICTION                                      14

     ARTICLE 15 — MEAL AND REST PERIODS                                  15

     ARTICLE 16 — PARKING                                                15

     ARTICLE 17 — SANITARY CONDITIONS                                    15

     ARTICLE 18 — SAFETY,                                                15

     ARTICLE 19 — SMOKING                                                15

     ARTICLE 20 — NON-DISCRIMINATION                                     16

     ARTICLE 21 — EXAMINATION FEES & IDENTIFICATION FEES                 16

     ARTICLE 22 — EQUIPMENT,                                             16



     i



                                  Exhibit 1, p. 5
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 6 of 63 Page ID #:225




      ARTICLE 23 — MINIMUM DAY GUARANTEE                                 17

      ARTICLE 24 — JURY DUTY & COMPANY WITNESSES                         17

      ARTICLE 25 — BEREAVEMENT LEAVE                                     18

      ARTICLE 26 — LEAVE OF ABSENCE                                      18

      ARTICLE 27 — PAID HOLIDAYS                                         19

      ARTICLE 28 — PAID SICK DAYS                                        21

     ARTICLE 29 — VACATION                                               21

     ARTICLE 30 — HEALTH AND WELFARE                                     22

     ARTICLE 31 — WAGES                                                  24

     ARTICLE 32 — TEAMSTERS PENSION PLAN (SUMMARY)                       24

     ARTICLE 33 — FULL AND COMPLETE AGREEMENT                            25

     ARTICLE 34 — SAVINGS CLAUSE                                         25

     ARTICLE 35 — DURATION                                               25




     ii



                                    Exhibit 1, p. 6
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 7 of 63 Page ID #:226




                                              PREAMBLE

             This Agreement is entered into effective this          , 2016 between TGF Management
     Group Holdco, Inc. d/b/a Toll (hereinafter referred to as “the Company or the Employer”) and
     the International Brotherhood of Teamsters Local 848 (hereinafter referred to as “the Union”).
     The general purpose of this Agreement is to provide for the reasonable efficient operation of the
     Employer’s trucking operations and the establishment of rates of pay, hours of work and other
     conditions of employment. The parties agree as follows:

                                    ARTICLE 1 — RECOGNITION

             The Company recognizes the Union as the sole and exclusive bargaining agent for its
     Port Drayage Drivers employed by the Employer at the San Pedro facility located at
     400-450 Westmont, San Pedro, CA 90731 (“San Pedro Facility”). California operating under
     contract with NLRB Certification Case 31-RC-072975 dated April 20, 2012 (“the Bargaining
     Unit”).

            Included:      All Full-time and Part-time Port Drayage Drivers.

            Excluded:      Express or Long Haul Drivers, all other employees, office clerical
                           employees, managers and guards and supervisors, as defined in the
                           Act.

                                  ARTICLE 2 — UNION SECURITY

             (a)     Union Shop: Employees engaged in the performance of work covered by this
     Agreement shall either become a member of the Union or elect “non-member” status no later
     than the 31 st day following the begimiing of his or her employment or the Effective Date of the
     Agreement. Employees are further required, for the period of the Agreement, to remain in good
     standing (either as a member or with non-member status), subject to the provisions of
     Section 8(a)(3) of the Labor Management Relations Act.

             Employees who choose “non-member status” shall be required to pay a reduced service
     fee equivalent to his or her proportionate share of union expenditures that are necessary to
     support solely representational activities in dealing with the Employer on labor-management
     issues. No Employee shall be discriminated against on account of his or her membership or
     “non-member status” in the union.

             Upon determining that an Employee is not in good standing, the Union shall inform the
     Company in writing and state the reasons for such lack of good standing. Upon request by the
     Union, the Company shall begin the process to discharge the Employee no later than seven (7)
     days after the Union informs the Company that an Employee is not in good standing, and the
     termination shall be completed no later than 10 (ten) business days after the Union informs the
     Company that an Employee is not in good standing. The Employee shall be removed from
     service without pay after the seventh day. The above does not apply if the Employee corrects his
     or her status with the Union, and the Union so informs the Company.




                                           Exhibit 1, p. 7
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 8 of 63 Page ID #:227




           Notwithstanding the foregoing, the Union shall not require the Company to terminate any
     Employee for any reason that is prohibited by state or federal law.

             (b)    Union Business: No member of the Union shall be discharged or discriminated
     against for upholding Union rules or principles or doing Committee work for the interest of the
     Union, provided, however, that tire Employee does not engage in egregious or outrageous
     conduct in performance of such Union business and does not otherwise violate the rules of this
     Agreement or the policies of the Company.

            (c)    Notification to the Union: Within fifteen (15) days from the date of hiring a new
     Employee in the bargaining unit, the Company will give to the Union in writing the following
     information on the newly hired Employee:

                 Name, home address, social security number, and date of hire.

            Likewise, within five (5) business days upon release from the Company of an Employee
     in the bargaining unit, the Company shall notify the Union with the following information:
     name, address, social security number and date of termination.

                                         ARTICLE 3 — CHECK-OFF

              (a)    The Employer will deduct any authorized initial deductions, transfer fees and/or
     initiation fees owed to the Union, as well as current monthly Union dues, and/or uniform
     assessments from the paycheck of Employees who have signed proper legal authorizations for
     such deductions, and who are covered by this Agreement on the last pay day of the month
     preceding the current month for which the authorized Union dues, initiation fees and/or any other
     authorized deductions are due to the Union. The Company shall only check off initiation fees
     and Union dues upon presentation of a written check-off authorization, executed by the
     individual Employee, provided to the Company by the secretary-treasurer of the Union. The
     check-off authorization must contain the Employee’s name, date, signature, social security
     number (if applicable), work permit number (if applicable) and an express statement of
     authorization by the Employee requesting and consenting that Union dues, transfer fees,
     assessments, initiation fee(s) and/or other payments be deducted from the Employee’s pay.

             (b)    Upon receipt of the check-off form, the Company will have 14 calendar days to
     process the form. The Company will then deduct such dues in the amounts certified to the
     Company to cover the amount authorized by each Employee provided the Employee has
     sufficient net earnings in his/her pay, but in any event the Employer agrees to remit to the
     Secretary-Treasurer of the Union all Union dues, transfer fees, initiation fees and/or uniform
     assessments so deducted from the Employee’s pay check, even if in a lesser amount than
     previously authorized due to insufficient funds in the Employee’s paycheck, by the fifteenth
     (15th) of the month after the month in which the deductions are made. No deduction shall be
     made which is prohibited by applicable law.

             (c)    Deductions shall be made beginning the first payday of the month following the
     calendar month in which dues are payable. Deductions shall be made weekly in even equal
     installments divided from the monthly billing received 'from the Union. All sums shall be
     deducted in the amounts certified to the Company by the secretary-treasurer of the Union, and

                                                        2
     117583191



                                               Exhibit 1, p. 8
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 9 of 63 Page ID #:228




     respective shares shall be sent to the Union within the time specified in Section (b) of this
     Article.

            (d)   The Company shall furnish to the Union on a monthly basis, a list of all
     Employees hired, discharged, laid-off, on leave, or returning from leave, transferred from the
     Bargaining Unit or who have voluntarily terminated employment with the Company.

            (e)    The Union is responsible for providing orientations to new Employees in the
     Bargaining Unit regarding any requirements to join the Union and pay dues and initiation fees.
     Any questions concerning the deduction of fees will be handled between the Employee and the
     Union.

             (f>     In the event that the Company fails to timely remit initiation fees, Union dues
     and/or any other authorized payments that it has deducted, the Union must provide notice to the
     Company along with an accounting, which includes the Employee’s full name, social security
     number and/or work permit number, amount owed and date amount became due. The Employer
     will thereafter have an additional 30 days to provide the Union with payment or proof that the
     said Employee was not employed as a member of the Bargaining Unit with the Company at the
     time that the proposed amount became due.

             (g)   The Union hereby indemnifies and holds the Employer harmless for all claims,
     demands, suits or other forms of liability that may arise against the Employer because of the
     enforcement of the provisions in this Article 3. The Union will indemnify the Company against
     all claims made against it by reason of compliance with this Section.

                              ARTICLE 4 — D.R.I.V.E, DEDUCTIONS

            The Employer agrees to deduct from the paycheck of all Employees who submit
     authorization cards and are covered by this Agreement voluntary contributions to D.R.I.V.E. in
     the amount specifically authorized by the Employee. The authorization must contain an express
     statement of authorization by the Employee requesting and consenting that the D.R.I.V.E.
     contribution be deducted. D.R.I.V.E. shall notify the Employer of the amounts designated by
     each contributing Employee that are to be deducted from his/her paycheck on a weekly basis for
     all weeks worked. In the event of insufficient funds, the Employer will not deduct any amount
     under this Article in that week. The Employee must provide written notice to the Union and the
     Union shall notify the Employer 30 days in advance if Employee would like to terminate or alter
     the deductions by providing notice to the Employer of the Employee’s written notification. The
     phrase “weeks worked” excludes any week other than a week in which the Employee earned a
     wage. The Employer shall transmit to:

                                              D.R.I.V.E.
                               International Brotherhood of Teamsters
                                      25 Louisiana Avenue, NW
                                       Washington, DC 20001

            The Employer will send on a monthly basis, one check for the total amount deducted
     along with the name of each Employee on whose behalf a deduction was made, the Employee’s
     social security number and the amount deducted from the Employee’s paycheck. No such

                                                    3
     117583191



                                          Exhibit 1, p. 9
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 10 of 63 Page ID #:229




      authorization shall be recognized if in violation of state and federal law. No deductions shall be
      made which are prohibited by applicable law.

               In the event the Employer fails to timely remit the D.R.I.V.E. deduction, D.R.I.V.E. must
      provide notice to the Employer along with an accounting, which includes the Employee’s full
      name, social security number and amount owed and date amount became due. The Employer
      wi.ll thereafter have an additional 30 days to provide D.R.I.V.E. with payment or proof the
      Employee was not employed as a member of the Bargaining Unit at the time the proposed
      amount became due.

              The Union and D.R.I.V.E. hereby indemnify and hold the Employer harmless for all
      claims, demands, suits or other forms of liability that may arise against the Employer because of
      the enforcement of the provisions in this Article. The Union and D.R.I.V.E. will indemnify the
      Employer against all claims made against it by reason of compliance with this Article.

                                        ARTICLE 5 — SHOP STEWARDS

              The Employer recognizes the right of the Union to appoint or to elect shop stewards(s)
      and a Grievance Representative from the Employer’s seniority lists. There will be no more than
      one shop steward per shift in San Pedro, or if the shift exceeds fifty (50) Employees, a second
      shop steward, and an additional shop steward for every fifty (50) Employees thereafter may be
      appointed. The Union may similarly elect or appoint one shop steward in Mira Loma for so long
      as the Company, in its sole discretion, decides to operate at that location. The Union will submit
      to the Employer a written list of all stewards. Each steward shall be the principal “Grievance
      Representative,” but there will be no more than one principal Grievance Representative(s) per
      grievance. Also, the Union will submit any changes to this list before said changes are
      recognized by the Employer. The authority of the shop stewards, so designated by the Union, in
      handling grievance work, shall confine their settlement activities to their own shift. Each shop
      steward is subject to all rules regarding employee conduct on the premises of the Employer. The
      Employer shall be able to impose discipline up to and including discharge in the event the shop
      steward violates the Employer’s rules in acting as a shop steward (unless those rules violate the
      steward’s rights under the National Labor Relations Act (NLRA) to not be unlawfully
      discriminated against while performing his or her shop steward duties in a reasonable, necessary
      and proper manner) or Grievance Representative and/or takes unauthorized strike action,
      slowdown or work stoppage action.

                  The shop steward’s duties shall not exceed the following:

                         1.      The investigation and presentation of grievances with the Employer’s
                  designated representative in accordance with the provisions of this Agreement;

                         2.      Checking the dues books and cards of other Bargaining Unit Employees;

                          3.     The transmission of such messages and information as originates and is
                  authorized by the Union or its officers, provided such messages are in writing or, if not in
                  writing, are of a routine nature and do not involve work stoppages, slow-downs, refusal
                  to handle goods or any other interference with the Employer’s business.


                                                           4
      117583191



                                                Exhibit 1, p. 10
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 11 of 63 Page ID #:230




             Shop stewards have no authority to take strike action, slowdown, work stoppage or any
      other action interrupting the Employer’s business. The Employer recognizes these limitations
      upon the authority of the shop stewards.

              (a)    Stewards shall be permitted a reasonable time to investigate, present and process
      grievances on Company property without loss of time or pay during his or her regular working
      hours; and where mutually agreed to by the Union and the Employer, off the property or other
      than during his or her regular schedule without loss of pay. Stewards shall not be compensated
      by the Company to investigate, present and process grievances other than during his or her
      regular shift.

              (b)     The Employer has the right to impose proper discipline, including discharge, in
      the event the shop steward or Grievance Representative takes unauthorized strike action,
      slowdown or work stoppage action in violation of this agreement. There shall be no form of
      unlawful discrimination, or retaliation of, any shop steward for engaging in lawful conduct in
      pursuit of his or her shop steward’s duties.

                     ARTICLE 6 — ACCESS TO THE EMPLOYER’S PREMISES

              (a)     For the purpose of investigating grievances, adjusting disputes, or discussing or
      answering questions between the Employer and the Employees covered hereby, the Employer
      shall permit an authorized representative of the Union designated pursuant to the NLRA, to visit
      the facility, where the Employees are working, at reasonable hours, with notice to Rich Nazzaro
      or the Vice President of West Coast Operations or the Human Resource Manager no later than
      upon arrival at the facility in the event the visit is to inspect the job site and/or enforce this
      contract pursuant to the NLRA. In the event the purpose of the visit is not' to inspect the job site
      and/or enforce this contract as set forth above, twenty four (24) hours’ or prior day notice will be
      provided as set forth herein unless an appointment has been agreed upon with the Company to
      occur sooner. An email or phone call shall be an acceptable form of notification, provided the
      notice is sent to both the individuals identified above or the individuals then occupying those
      positions. During the visit, the authorized representative shall not interfere with regular business
      operations. The Union must provide the Company with written notice of any individual
      authorized to access the premises pursuant to this Article. Written notice of authorized
      individuals must be provided no later than seven (7) days in advance of any such visit.

              Toll shall provide a locked bulletin board located near the dispatch office located at the
      San Pedro Facility for the exclusive use and posting of all Union notices. Toll will maintain a
      key and will provide one key to a designated Union Representative (the Union shall be
      responsible for any additional keys needed, but shall provide the Employer with a list of any
      person who receives a key). The Union shall only use the locked bulletin board for posting
      notices, announcements of Union meeting(s), Union events, or any other information authorized
      by the Union. The Union shall provide the Company with a copy of any posted notices no later
      than the time of posting. All Union notices must be signed by a delegated Union Member and
      may not violate the Company’s policies against offensive or harassing conduct, including
      without limitation, sexual harassment, bullying and intimidating behavior.




                                                       5
      117583191



                                            Exhibit 1, p. 11
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 12 of 63 Page ID #:231




                                             ARTICLE 7 — SENIORITY

             The Employer recognizes the general principle that senior Employees shall have the
      preference to work. Seniority shall be defined as the length of continuous service of the
      Employee with the Employer, subject to the following provisions:

               Seniority shall not apply to any Employee until he or she has been employed for ninety
      (90) calendar days, such time to constitute a probationary period during which an Employee may
      be terminated if in the sole opinion of the Employer the Employee is judged unsatisfactory.
      Upon successful completion of the Probationary Period, an Employee’s seniority date shall be
      his first day of employment.

             The Employer shall submit an updated seniority list to the Union each month if there has
      been a change in seniority or upon reasonable request. No list will be provided where there has
      been no change in seniority during the month.

            In the event the Employer is a party to a merger, the seniority of the Bargaining Unit
      Employee who is affected thereby shall be determined by the Union.

                  Employees shall lose their seniority as a result of:

                         a.      Discharge for just cause;

                         b.      Resignation; or

                         c.      Retirement.

             (a)     An Employee shall have deemed to have resigned unless she/he shall have
      obtained a leave of absence from the Employer for:

                         a.      Failure to respond to a notice of recall sent via Overnight Express to the
                  Employee’s last known address provided by Employee, within 72 hours of notification by
                  the Employer, he or she shall be skipped for recall. If the Employee does not respond
                  within seven (7) days his or her employment shall be terminated. Alternatively, the shop
                  steward may notify the Employees eligible for recall via telephone or email and the
                  Employees must respond within 72 hours. If the shop steward elects to notify the
                  Employees, he or she must make such notifications by the end of business on the day the
                  Company provides the recall list. It is the Employee’s responsibility to provide a current
                  address and phone number to the Company;

                        b.      Unauthorized failure to report for work for three (3) consecutive days
                  when work is available and;

                         c.      Laid off in excess of 24 months.

             (b)     Any Employee who is absent because of non-occupational illness or injury shall
      maintain his/her seniority for a period of the length of the approved leave, but no more than
      12 weeks, after which he/she shall be deemed to have resigned unless he/she qualifies for a leave

                                                             6
      117583191



                                                 Exhibit 1, p. 12
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 13 of 63 Page ID #:232




      of absence from the Employer. The Employer shall have the right to require the Employee
      document the illness or injury and provide timely and regular updates as to any changes in work
      status. Tire Employer shall have the right to communicate directly with the Employee’s health
      care provider as necessary to clarify documentation provided by the Employee. An Employee is
      subject to discipline up to and including discharge for failing to reasonably communicate with
      the Employer regarding the status of his/her injury, any information reasonably necessary to
      transition his/her duties and expected return-to-work date.

             Any Employee who is absent because of a job-related injury will upon his/her return to
     the same position, return with the full seniority he/she had when the injury occurred. Depending
     on the length of the leave and whether the Employee elected COBRA coverage, there may be a
     waiting period to resume health coverage based upon the current plan. The Employee must be
     able to perform the same work and must have a doctor’s release. This injury/disability leave
     cannot extend beyond a period of twenty four (24) months, hi the event the Employee, upon
     returning to work, is unable, without reasonable accommodation, to perform his/her previous job,
     the Employer may, in its sole discretion, place the Employee in a different job, including a job
     outside of the Bargaining Unit that the Employee is able to perform, with or without reasonable
     accommodation. The Employer is not obligated to create a new position or alter the job duties or
     requirements associated with any position for purposes of placing the returned Employee in an
     available position. The Employee will be paid the applicable rate for the different job even if
     less than the rate of pay previously earned in the Bargaining Unit Position. If the Employee
     remains in the different job for longer than 90 days, the Employee will no longer be a member of
     the Bargaining Unit.

            Job Postins: Notice of a job vacancy, which the Employer intends to fill, will be posted
     on the Union bulletin board for a period of at least five (5) working days. The positions for
     promotion within the bargaining unit and shall be awarded to the most senior Driver in the
     bargaining unit.

             The Employer shall post for a period of not less than five (5) days any positions for
     promotion outside the bargaining unit. The determination of an applicant’s qualifications shall
     be within the sole discretion of the Employer. Such promoted Employees shall receive the new
     rate of pay for said position once the Employee commences to perform the new job and shall be
     subject to a normal ninety (90)-day probationary period in the new position.

                  Notice ofLay-off or Change of Shift.

             The Employer agrees to give one (1) week’s notice of all permanent shift changes to all
     affected Employees. The Employer agrees to give reasonable notice depending on the business
     needs and in the sole discretion of the Employer of all temporary shift changes to all affected
     Employees. Within reason, the Employer will make every effort to accommodate Employees
     with regard to shift changes. Temporary shift changes shall be defined at a shift change of one
     (1) month or less.

                         1.     The least senior Employee shall be moved off his shift first unless there
                  are more senior Employees willing to volunteer to be moved.



                                                         7
      117583191



                                               Exhibit 1, p. 13
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 14 of 63 Page ID #:233




                          2.     Employees with more seniority, who volunteer to work the second or third
                  shift assignments, will be accommodated where possible.

                         3.     When a senior Employee volunteers to move to another shift and creates
                  an opening, the most senior Employee on another shift will have first right of refusal to
                  move to the open shift.

                         4.      Schedule changes that are temporary in nature and not intended to be
                  long-term, such as earlier start times to accommodate business needs, are not covered by
                  this subsection (b).

              (c)     All Employees are to be given written notice of an impending lay-off at least three
      (3) days prior to such lay-off . In a reduction of force due to lack of work, the last Employee
      hired shall be the first Employee laid off (by seniority). In returning, the last Employee laid-off
      shall be the first Employee rehired until the list of laid-off Employees is exhausted. Leave of
      absences granted by the Employer shall not interrupt the continuity of seniority except as
      provided for in this Agreement. Lay-offs for less than 12 months shall not interrupt the
      continuity of seniority.

                                    ARTICLE 8 — MANAGEMENT RIGHTS
             (a)     The Union agrees that each and all functions of management that are not
      expressly limited by the language in this Agreement are retained by the Company.

               (b)     The functions listed herein are illustrative of the responsibilities retained by the
      Company and not intended as an all-inclusive list. Among other rights, the Company maintains
      the sole and exclusive right to manage the following Company policies and functions, including,
      but not limited to, the Company’s operations; methods of production; method of payment; and to
      direct the working forces including, but not limited to, the right to control all operations or
      services to be performed by Bargaining Unit Employees or owner-operators as permitted by this
      Agreement; schedule working hours and change working hours based on business needs; hire,
      promote and demote, assign and transfer; suspend, evaluate, discipline, discharge for cause;
      relieve Bargaining Unit Employees because of lack of work or for other legitimate reasons;
      direct the efficiency of Bargaining Unit Employees; make and enforce work rules and
      regulations; make and enforce safety rules and regulations; determine and implement the
      methods, means, assigmnents, classifications and personnel by which its operations are to be
      conducted, including staffing levels; introduce new and improved methods, materials, equipment
      or facilities; and change or eliminate existing methods, materials, equipment or facilities. These
      are among, but not exhaustive of, the responsibilities vested exclusively in the Company.
      Furthermore, the Company has the right to promulgate reasonable rales and regulations
      pertaining to the covered Bargaining Unit Employees, provided the rules and regulations do not
      conflict with any Articles in this Agreement.

                                 ARTICLE 9 — NO STRIKE — NO LOCKOUT

              It is mutually agreed and understood that business needs require efficient and
      uninterrupted performance of all Bargaining Unit work. For the period of this Agreement, there
      shall be no suspension of work, work stoppages, sympathy strikes or strikes of any kind. In

                                                          8
      117583191



                                               Exhibit 1, p. 14
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 15 of 63 Page ID #:234




      addition, and without limiting the generality of the foregoing, there shall be no leafleting,
      striking, informational picketing or any other work action that has the purpose or effect of
      slowing down or interfering with work. However, no Employee shall be subject to discharge,
      discipline or permanent replacement for refusing to cross or work behind a lawful primary picket
      line sanctioned by Teamsters Joint Council 42.

                  For the period of this Agreement, the Company shall not lock out the Bargaining Unit.

                             ARTICLE 10 — COMPANY RULES AND POSTINGS

             The Employer may establish and enforce reasonable rules applicable to employees,
      provided that such rules do not conflict with the provisions of this Agreement. It will be the
      responsibility of the Employer to post and maintain a notice of such rales on a bulletin board
      located in such a position that all employees concerned may have an opportunity to become
      familiar with them.

              Before any new rales are implemented hereafter, the Employer shall forward them to the
      Union by certified mail and allow the Union ten (10) days from the receipt thereof in which to
      request a meeting to discuss same. Such meeting shall be held no later than twenty (20) days
      after the Union receives a copy of the proposed rales. The reasonableness of any rule shall be
      subject to the grievance and arbitration procedure set forth in Article 12 hereof.

              If the Company determines, that any Bargaining Unit Employee requires a hazmat
      endorsement to perform his or her duties, which the Company shall determine in its sole
      discretion, the Employee shall be required to obtain it within a reasonable period after such
      notification, but no less than 45 days after such notification. The cost of the hazmat endorsement
      will be reimbursed by the Company. An Employee that is unable to obtain a hazmat
      endorsement, that is required due to business needs, and is unable to acquire a work assignment
      through seniority that does not require a hazmat endorsement, shall be laid-off work until he or
      she obtains the hazmat endorsement, there is a work shift available that he or she is able to obtain
      through seniority or the 12 month lay-off period expires, at which time he or she shall be
      terminated.

                                 ARTICLE 11 — DISCIPLINE & DISCHARGE

            (a)    Discharge or other discipline shall be for just cause only. When an Employee is
     discharged or suspended, the Employer shall advise the affected Employee of the reasons for
     such termination or suspension. If the Employee requests written notice, such notice shall be
     provided to the Employee within one (1) business day after his/her termination or suspension.
     The Union, upon request, shall have the right to receive the reasons for the termination or
     suspension. Except for the grounds set forth below, Bargaining Unit Employees shall not be
     discharged unless the following progressive disciplinary steps have been followed:

                         The Employee has first received at least one (1) prior verbal
                         warning, one (1) prior written warning and one (1) prior
                         suspension for similar or related conduct involving accidents or,
                         safety violations and violations of work rales within the specified
                         time period stated in Section (c) of this Article for which the

                                                          9
      117583191



                                               Exhibit 1, p. 15
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 16 of 63 Page ID #:235




                    discharge is proposed.        Absenteeism shall fall under the
                    Company’s attendance policy. The Company and the Union agree
                    there may be some violation(s) that are more serious than others
                    and may warrant more serious discipline than the steps outlined
                    above. The Union shall have the right to challenge the more
                    severe discipline or discharge through the grievance process.

              Written warnings must be issued to the Employee within five (5) days of the knowledge
      of the occurrence by the Employer and, upon the Employee’s written request, the Employer shall
      provide the shop steward and the Union with a copy of any written warning at the same day as it
      is issued to the Employee via email or in person.

              (b)     The Company may discharge Employees without following the progressive
      discipline outlined in subsection (a) only for the following reasons:

                            (i)   Employee gross negligence resulting in damage to equipment or
                    for improperly breaching the seal of a container such that it does not remain
                    intact;

                          (ii)   Theft of Company time, money, goods or merchandise from
                    Employer’s/customer’s premises;

                            (iii) Use or possession of illegal drugs, use or possession of alcohol
                    during working hours; a positive result from any drug or alcohol test; refusal to
                    take a random or post-accident drug test when requested; and/or violation of any
                    of the Company’s policy concerning the use of drugs or alcohol.

                             (iv)    Fighting, violence, threats of violence, abusive language and/or
                    illegal activities while conducting Company business or on Company grounds;

                            (v)    Falsification or intentional omission of records or daily log books;

                            (vi)   Calling an unauthorized strike or walk-out;

                            (vii) Failure to timely report an accident, but no later than the end of the
                    shift during which the accident occurred;

                         (viii) Sleeping on the job, without advance permission from the
                    Company due to an issue of safety;

                           (ix)   Abandoning a Company truck or leaving a load unattended without
                    approval from dispatch;

                            (x)   Willful failure to follow instructions to take a dispatched route,
                    including parking or driving through a residential area without approval from
                    dispatch;




                                                     10
      117583191



                                          Exhibit 1, p. 16
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 17 of 63 Page ID #:236




                             (xi)   Refusing to sign an acknowledgment of receipt of a disciplinary
                     write-up, provided that by signing, the Employee is not necessarily deemed to
                     agree with the contents of die write-up and reserves the right to grieve the
                     disciplinary write-up. The Union Representative or shop steward shall sign the
                     disciplinary write-up on the Employee’s behalf, if the Employee refuses;

                             (xii) A driver’s loss of license due to excessive number of points on his
                     or her driving record. A driver’s loss of license for a conviction for driving under
                     the influence and/or categorization of the driver as uninsurable because of his or
                     her driving record. Although the driver shall not be discharged until he/she is
                     convicted of driving under the influence, he/she may be suspended without pay
                     until an outcome is reached in the case. During the Employee’s suspension, the
                     Employee will receive any and all benefits required by law. An Employee on a
                     suspension of this type will be required to pay the full cost of all insurance
                     premiums. The amount of premium payments and payment schedule will be
                     provided to the Employee at the time of suspension. Employees will be required
                     to use all accrued and unused vacation benefits during this suspension.
                     Employees on this suspension will not receive or accrue any discretionary
                     benefits which are based on length of sendee, such as vacation, sick leave,
                     holidays;

                               (xiii)   Having unauthorized passengers in Company vehicle;

                            (xiv) Gross insubordination after a 15 minute cooling off period, as
                     defined below;

                               (xv)     Willfully refusing a work assignment after a 15 minute cooling off
                     period.

             For purposes of this Section, a 15 minute cooling off period is defined as a period during
      which management and the Bargaining Unit member(s) is/are permitted to take a 15 minute
      period to allow the situation to de-escalate prior to management imposing any discipline. This
      provision only applies in instances falling under Subsections (b)(xiv) and (xv). No Employee
      may have more than three (3) cooling off periods in any one year.

            The Employer shall notify the Union within two business days of any discharge of an
      Employee for the reasons set forth in this Section.

              (c)    Employer shall complete an investigation resulting in a suspension or discharge
      within ten (10) working days from the Employer’s discovery of the incident giving rise to the
      suspension or discharge, unless the Employer contacts the Union Business Representative prior
      to the expiration of the ten (10) working days and notifies the Union that the Company needs
      more time to complete its investigation. At the commencement of this period the Union may file
      for mediation.

              (d)     No disciplinary notice may be introduced in any grievance, discipline hearing,
      termination hearing or arbitration hearing which has not been issued within one (1) year from the
      date of the disciplinary notice except in the case of notices concerning accidents. Accidents shall

                                                         11
      117583191



                                               Exhibit 1, p. 17
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 18 of 63 Page ID #:237




      not be introduced after 18 months. Failure of an Employee or Union to grieve or protest a
      warning letter to which no other discipline has been attached, when given, shall in no matter be
      deemed prejudicial to said Employee in a future grievance or arbitration hearing involving the
      same offense.

              (e)   Written notice of appeal from discharge or suspension must be made to the
      Employer by the Union within ten (10) working days from the date of written notice to the
      Union. If the Employer and Union are unable to agree as to a settlement as of that date, then the
      discharge or suspension may be appealed pursuant to the grievance procedure set forth in
      Article 12.

                                ARTICLE 12 — GRIEVANCE & ARBITRATION

             (a)    Should disputes arise between the Employer and the Union concerning the
      meaning, interpretation, application or alleged violation by the Company or Union of the
      Agreement shall be resolved in accordance with the following procedure. There shall be no
      suspension of work or work stoppage of any kind on account of a dispute that is subject to this
      grievance procedure.

              (b)    Written Grievances. Any dispute concerning the interpretation or application of
      this Agreement may be submitted in writing as a grievance, and it shall specifically state the
      nature of the grievance. Such written grievance must be submitted within ten (10) business days
      of the disciplinary action or management decision that forms the basis of the grievance.
      Probationary Employees are not eligible to participate in the arbitration procedure set forth in
      this Article.

             (c)     Procedure. When such notification is served upon the other party, the following
      procedure shall be observed:

                           1.     Within ten (10) business days of receipt of written notification of the
                  grievance, the Employer or its duly-appointed representative shall meet with a
                  representative of the Union and attempt to resolve the dispute. If the parties are unable to
                  resolve the dispute, it shall, upon notice of the moving party within five (5) business days
                  after the meeting discussed herein, proceed to the next step listed immediately below.

                          2.      The matter shall be referred to a committee of two representatives
                  designated by the Employer and two representatives designated by the Union unless the
                  dispute is subject to a termination in such case, it will only be referred to a committee by
                  mutual agreement of the parties. Any meeting under this subsection (2) must take place
                  within five (5) business days of receipt of notice from moving party as set forth in (c)(1)
                  or, if either party is unavailable, as soon as possible thereafter, but absent written
                  agreement, no later than ten (10) additional business days.

             If after meeting and presenting the merits of both positions, this committee is unable to
     resolve the dispute to the satisfaction of both parties or if the meeting is not agreed to take place
     by both parties because the dispute is subject to a termination, within five (5) business days, the
     moving party may proceed with the grievance as set forth immediately below:


                                                           12
      117583191



                                                Exhibit 1, p. 18
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 19 of 63 Page ID #:238




                           3.      The moving party may submit its grievance to an impartial arbitrator for
                  arbitration, either party may, upon ten (10) business days’ notice, submit the grievance to
                  binding arbitration in accordance with this Article.

              (d)     The Employer and Union will attempt to agree upon an arbitrator, but if they
      cannot agree within five (5) business days, a list of arbitrators will be obtained from the Federal
      Mediation and Conciliation Service, After a toss of a coin to decide which party shall move first,
      the Employer and the Union shall proceed to strike one name from the list of arbitrators until one
      name remains The next to the last name stricken shall be the alternate arbitrator to serve in the
      event that the first arbitrator is not available.

             (e)     The Arbitrator’s decision shall be final and binding on both parties hereto. The
      Arbitrator shall not be empowered to add to or subtract from this Agreement in any way. The
      Arbitrator may, in cases involving disciplinary action, including discharge, sustain or overrule
      any discharge or discipline as he or she may deem just and equitable and make such award(s) as
      he or she may deem appropriate. Notwithstanding any other provision in this Article 12, the
      Arbitrator shall not have authority to grant a remedy involving pay or benefits which shall not
      exceed the period for which the grieving party was out of work.

             (f>     In the event of the failure of either party to be present at the time and place
      designated for the arbitration after being duly noticed and no good cause for failure to appear
      submitted in advance, then the Arbitrator shall have the right to listen to the party appearing at
      the time and place for arbitration and shall have the power to render a decision based on the
      testimony presented.

              (g)     The decision of the Arbitrator shall be final and binding upon the parties.
      Notwithstanding anything to the contrary in this Agreement, if either party contends the other
      has failed to comply with the decision of the Arbitrator within the time limits specified by the
      Arbitrator, or if no time limits specified, within 10 business days of the issuance of the award,
      the grieved party may give 10 business days’ written notice to the breaching party. If the
      breaching party does not comply, the grieved party may petition the Arbitrator for appropriate
      remedy.

             (h)    The compensation of the Arbitrator, as well as the cost of any court reporter and
      hearing room, shall be shared by the Employer and the Union splitting the costs equally.

                                   ARTICLE 13 — SUCCESSORS & ASSIGNS

              (a)    If the Employer merges, acquires or purchases control of the business of another
      employer, with operations in the state of California, the Employer agrees to bargain with the
      Union as to the seniority of the Employees within the classifications covered by this Agreement
      of the employer so acquired or purchased.

             (b)     This Agreement shall be binding upon the parties hereto, their successors,
      administrators, executors and assigns. In the event the operations covered by this Agreement, in
      whole or in part, are sold, leased, subcontracted or otherwise assigned by the Employer, a
      condition of any such transaction shall be that the operation so transferred shall continue to be
      covered by this Agreement, and employ Bargaining Unit Employees to the extent required in

                                                           13
      117583191



                                                Exhibit 1, p. 19
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 20 of 63 Page ID #:239




      accordance with their seniority. The Employer shall give notice of the existence of this
      Agreement to any purchaser, transferee, lessee, assignee or entity of the operation covered by the
      Agreement or any part thereof. The notice will be in writing with a copy to the Union no later
      than thirty (30) days prior to sale. The Employer shall not be liable to the Union or to the
      Employees covered for any damages sustained as a result of any failure by the purchaser,
      transferee or lessee to assume the obligations so long as the Employer identified it as a condition
      of sale, hi the event of any failure by the purchaser, transferee or lessee to assume the
      obligations of the Agreement, the Union shall solely have recourse against the purchaser,
      transferee or lessee.

              (c)    It is understood by this Section that the parties hereto shall not use any leasing
      device to a third party for the express purpose of evading this Agreement. The Employer shall
      not operate, maintain or conduct any establishment or place of business for the express purpose
      of evading the terms of this Agreement. If the Employer hires or converts its operation, or part
      thereof, to any independent contractor or owner-operators procedure, except as set forth in
      Article 14 (Work Jurisdiction), these independent contractors and/or owner-operators shall be
      considered Employees and be subject to this Agreement.

              (d)     Except as provided for in subsection (a), whether it is a purchase, merger, or
      acquisition, the Employees involved shall retain their overall seniority for all fringe benefits for
      the Bargaining Unit.

                                ARTICLE 14 — WORK JURISDICTION

              Bargaining Unit work shall include all job assignments currently performed by the
      Bargaining Unit, and such additional work assignments as are assigned to such Employees in
      accordance with the Company’s business needs. Work currently performed by the Bargaining
      Unit shall not include trips to Lancaster and San Diego at this time, but the Company and the
      Union agree that the issue of these runs may be the issue of bargaining at a later date if work in
      one or both of these areas increase substantially. The Company and the Union acknowledge that
      other assignments and runs may become necessary during the period of the Agreement which the
      Company determines, based on legitimate business needs, should be performed by
      owner-operators or third-party carriers and which will be the subject of bargaining prior to the
      Company’s implementation of any such runs or assignments. After bargaining, if the parties are
      unable to reach an Agreement on any of the issues in this Article, either party may seek a remedy
      through Article 12 of this Collective Bargaining Agreement. The foregoing notwithstanding,
      both parties agree that Bargaining Unit work as defined in this Article shall be performed only by
      Bargaining Unit Employees covered by this Agreement, and shall not be subcontracted,
      transferred, leased, diverted, assigned, conveyed or otherwise performed, in whole or in part, by
      any other person, including non-Bargaining Unit Employees or supervisors of the Employer
      except as set forth herein below; provided, however, the Company may use non-Bargaining Unit
      earners or owner-operators on a temporary basis for increased work assignments and/or until
      acceptable Bargaining Unit Employees can be hired for open positions. Bargaining Unit work
      does not include those job assignments or runs currently assigned to owner-operators and/or
      third-party carriers.




                                                       14
      117583191



                                            Exhibit 1, p. 20
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 21 of 63 Page ID #:240




              It is not the purpose of the foregoing provision to require the Company to increase the
      work force, or purchase or lease additional, new, or special equipment. It is also not the purpose
      of the foregoing to require the Company to cease using or reduce the use of owner-operators
      and/or third-party carriers. However, the parties agree that the Company shall maintain the
      current level of staffing unless there is a decrease or loss of current Bargaining Unit work due to
      business needs and the Company will only increase staffing as supported by business needs.

                             ARTICLE 15 — MEAL AND REST PERIODS

             The Company shall permit all Employees to take any and all meal and rest periods that
      the Employee is entitled to by law. All meal breaks shall be unpaid by the Employer. The rest
      periods shall be included with the Employee’s regular shift and no deductions shall be made
      from wages. Employees may not leave a load unattended to take a meal or rest break.
      Employees must advise dispatch when they begin and end their meal period.

                                        ARTICLE 16 — PARKING

              Employees will be allowed to park their personal vehicles on Company property to the
      extent spaces are available. If no spaces are available, the Employee shall be permitted to park
      his or her personal vehicle in the space of his or her assigned Company tractor during the
      Employee’s shift. Employees will not be assigned designated parking spaces.

                               ARTICLE 17 — SANITARY CONDITIONS

              The Employer shall comply with all applicable Federal and CAL-OSHA laws and
      regulations pertaining to occupational health and safety.

             The Employer, the Union and all Employees shall cooperate fully in all efforts to
      maintain a safe and sanitary work place.

                                         ARTICLE 18 — SAFETY

             The Company and the Union mutually agree that safety is a primary concern and that in
      the event Bargaining Unit Employees are required to attend a safety meeting, or any other
      mandatory meeting, they will paid at the applicable contractual hourly rate of pay.

                                        ARTICLE 19 — SMOKING

            In keeping with the Company’s intent to provide a safe and healthful work environment,
      smoking in the workplace is prohibited.

             This policy applies equally to all employees, customers, and visitors. Where required by
      law, the Company will provide designated smoking areas for employees to use during rest and
      meal periods.




                                                      15
      117583191



                                            Exhibit 1, p. 21
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 22 of 63 Page ID #:241




                               ARTICLE 20 — NON-DISCRIMINATION

            The Employer agrees that it will not discriminate against an Employee or applicant for
      employment for any reason prohibited by state or federal law.

                  ARTICLE 21 — EXAMINATION FEES & IDENTIFICATION FEES

             (a)      Physical, mental, or other examinations required by federal, state or local agency
     or the Employer, shall promptly be complied with by all such Employees, provided, however, the
     Employer shall pay for all such examinations. Employees must schedule non-working time to
     obtain and/or maintain his or her medical card and the Employer will not compensate Employees
     for this time. All pre-employment examinations shall be paid for by the Employer. The
     Employer shall pay for all Company-required drag tests and compensate the Employee for any
     time he or she is reasonably required to spend to complete the test, but, if the Employee is at the
     clinic for more than one and one-half, but less than, two hours, he or she must call dispatch and
     advise the Dispatch Manager that the test is going to take longer than two hours and request
     further instruction. If the Employee fails to call in he or she shall only be paid for two hours.
     Under the Company’s Drug & Alcohol policy, an Employee who self-reports a substance abuse
     problem will be entitled to an unpaid leave of absence to obtain reasonable assistance, including
     a structured rehabilitation program, provided the Employee has not, at the time of the report,
     been selected for a random test, tested positive or otherwise violated Toll’s Drag and Alcohol
     Policy. The Employer is not responsible for any costs associated with any reasonable assistance
     the Employee receives. Any Employee returning from such leave of absence will be subject to
     reasonable testing in the Company’s sole discretion, in addition to the normal testing Employee
     is subject to in accordance with the DOT.

              (b)    All Employees must carry personal identification and all licenses and
      documentation and log books required by the DOT or California or federal law while at work.
      Employees are responsible for maintaining as current all personal identification and licenses,
      including, but not limited to, a Class A Driver’s license. Any tests or appointments necessary to
      keep such licenses or documentation current must be done on the Employee’s own time and the
      Employer will not compensate Employees for time spent renewing such licenses or
      documentation.      The Employer shall bear the cost of maintaining each Employee’s
      Transportation Worker Identification Card (TWIC).

                                      ARTICLE 22 — EQUIPMENT

              Any necessary expenditure or loss the Employer requires the Employee to have or
      purchase in direct consequence of the discharge of his or her duties, or of his or her obedience to
      the direction of Employer, shall be purchased by the Company or reimbursed to the Employee if
      purchased by the Employee. Such reimbursement does not extend to those expenses or losses
      not discharged in direct consequence of Employee’s duties for the Company, such as those
      generally necessary to being a commercial driver, and including, without limitation, drivers’
      license certification or recertification or any other expenses associated with obtaining or
      maintaining a valid commercial drivers’ license.




                                                      16
      117583191



                                            Exhibit 1, p. 22
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 23 of 63 Page ID #:242




                            ARTICLE 23 — MINIMUM DAY GUARANTEE

              Guaranteed Hours’. When working the AWS, all Employees shall be guaranteed at least
      ten (10) hours of pay every day he or she signs on and there is available work that day. Any
      Employee that reports for work within 30 minutes of his or her start time and for whom there is
      no available work that day shall receive five (5) hours of pay at the Employee’s straight-time rate
      of pay. Employees are expected to contact dispatch promptly upon arrival to determine if work
      is available. Any Employee that reports to work more than 30 minutes late shall be paid for all
      hours worked, but shall only be guaranteed two hours’ pay at the Employee’s straight-time rate
      of pay. Nothing in this Article precludes discipline pursuant to the Company’s attendance
      policy. The pay described in guaranteed hours will not count as hours worked for overtime
      puiposes.

              Overtime Hours: The overtime shall be at the rate of the Employee’s straight-time rate
      plus half of the Employee’s straight-time rate (time and one-half (H/a)). The overtime rate will
      be paid to all Employees covered by this agreement for all hours worked over forty (40) hours in
      a single week. The overtime rate of pay will be based only on the driver’s hourly, straight time
      rate and will not include incentive pay, shift differential pay or any other fonn(s) of
      compensation.

                       ARTICLE 24 — JURY DUTY & COMPANY WITNESSES

              (a)     An Employee who is summoned and reports for jury duty and is working the
      AWS shall receive the difference between ten (10) hours pay per year at his or her straight time
      rate of pay, less any pay received for performing jury duty for up to five (5) days of regularly
      scheduled work. The Employer may require written proof that the Employee reported for and
      served on jury duty for the days in question. The Employee may only be compensated for days
      actually serving on a juiy or reporting to jury duty and for those days he or she was otherwise
      scheduled to, mandated to or called in to work.

              An Employee summoned for jury duty should notify his or her supervisor of such
      summons and provide the supervisor with a copy of the summons. The Employee may be asked,
      due to work flow, to postpone jury service. In that event, the Employee’s supervisor will provide
      a letter to the court to request postponement. Unless otherwise advised, an Employee on jury
      duty should return to work if dismissed early or excused from jury duty any day.

              (b)    Any Employee required to appear in any court or administrative agency at the
      request of the Employer or at summons of any court or administrative agency as a result of some
      action taken on behalf of the Employer, shall be paid in full for any lost time in the manner
      described in Section (a) above.

              An Employee who is subject to a subpoena to appear in court as a witness unrelated to a
      request, or any action taken, by the Employer will be given time off for this puipose, provided
      that he or she provides the Company with reasonable advance notice by delivering a copy of the
      subpoena to his or her supervisor.




                                                      17
      117583191



                                            Exhibit 1, p. 23
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 24 of 63 Page ID #:243




             Voluntary witness appearance on Company time must be approved, in advance, by the
      Employee’s supervisor. If time off is approved, it will be unpaid. An Employee volunteering to
      appear as a witness may use accrued, but unused vacation benefits for this puipose.

                                ARTICLE 25 — BEREAVEMENT LEAVE

              In the event of the death of an Employee’s parent, grandparent, spouse, child, grandchild,
      sibling, domestic partner, mother-in-law, father-in-law, brother, sister, step-children or
      step-parents, the Employee shall be granted a leave of absence with pay from the day of death
      until and including the day of the funeral not exceeding two (2) work days. When drivers work
      an AWS, bereavement shall be paid at ten (10) hours a day at the Employee’s straight time rate
      of pay. In the event the funeral service occurs outside of the state of California, the Employee
      may be granted up to an additional five (5) days of unpaid leave to attend the service.
      Bereavement leave is not compensable when an Employee is on a leave of absence, vacation,
      holiday, sick leave, workers’ compensation leave, state disability, jury duty or lay-off.

             Additional unpaid funeral leave up to a period of ten (10) days upon request of the
      Employee at the discretion of the supervisor absent unusual business needs or staffing
      requirements.

                                  ARTICLE 26 — LEAVE OF ABSENCE

              (a)    Employees who have been continuously employed by the Employer for at least
      one (1) year and who do not otherwise qualify for a legally-mandated leave of absence may be
      granted an unpaid personal leave of absence at the Employer’s sole discretion, for such purposes
      as family emergencies or other personal reasons. Requests for personal leaves of absence will be
      considered on the basis of the reason for the request, length of service, responsibility level, the
      anticipated general business schedule and workload, the Employer’s ability to assign duties to
      other Employees and/or obtain temporary replacement personnel and whether other individuals
      are already out on leave.

               (b)     All requests for leave should be submitted in writing to the Employee’s supervisor
      at least thirty (30) days before the beginning of a leave, if possible. Otherwise, requests for leave
      should be submitted in writing as soon as practicable before the beginning of the requested leave.
      All leave requests must indicate the general reason for the leave, the requested starting date of
      the leave, and the anticipated date of return. If approved, a personal leave of absence under this
      Article related will be for a reasonable period of time not to exceed ninety (90) days, unless in
      connection with an incarceration or due to a citizenship requirement; then the request can be for
      the full time needed, but may, in the Company’s sole discretion, be denied. The Employee may
      request a personal leave to be extended for a reasonable period of time for up to an additional
      sixty (60) days, and no leave under this Article shall exceed three (3) years total. All leaves of
      absence are up to the sole and absolute discretion of the Company and shall be approved or
      disapproved on a case-by-case basis. A request for such an extension must be in writing and
      approved before the extension begins.

            (c)    An approved leave of absence will not result in the loss of seniority rights;
     provided such leave does not exceed three (3) years at which point the Employee will forfeit all


                                                       18
      117583191



                                             Exhibit 1, p. 24
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 25 of 63 Page ID #:244




      seniority. Employees going on leaves of absence are expected to maintain their membership in
      the Union in good standing, but the Employer shall have no responsibility or obligation to
      require Employees to maintain such membership.

              (A) No more than four Employees at a time may take a leave of absence to participate
      in Union business provided it does not disrupt the Company’s business operations, in the sole
      and absolute discretion of the Company. Such a leave must be confirmed in writing by the
      Union no later than five (5) days in advance of the proposed leave of absence. If approved, the
      Employee on a leave of absence for Union business shall maintain full seniority rights upon
      return to the Bargaining Unit. While on leave of absence for Union business, the Employee may
      not work for any other employer, other than the Union. On occasion the union may request for at
      least two (2) members to be removed from the Bargaining Unit for an indefinite amount of time.
      And upon returning back to work with full seniority rights.

             If the Employee accepts other employment or fails to return to work on the next regularly
      scheduled workday following the expiration of his or her leave, it will be considered that the
      Employee has voluntarily terminated his or her employment.

             (e)     While on a personal leave, including a leave of absence pursuant to subsection (d)
     set forth herein, an Employee will receive any and all benefits required by law. An Employee on
     a personal leave will be required to pay the full cost of all insurance premiums. The amount of
     premium payments and payment schedule will be provided to the Employee at the time of the
     granting of die personal leave. Employees will be required to use all accrued and unused
     vacation benefits during a personal leave. Employees on personal leave will not receive or
     accrue any discretionary benefits which are based on length of service, such as vacation, sick
     leave, and holidays.

             (f)     An Employee who is unable to report to work because of an arrest or
     incarceration and promptly notifies his or supervisor, will be placed on a personal leave of
     absence, unless the Company’s business needs dictate otherwise. If the Employee is unable to
     secure bail, the Company reserves the right to extend the discretionary personal leave until final
     disposition of the charges against the Employee unless doing so would negatively affect the
     operations of the Company or business dictates an alternative resolution of the matter.

            (g)     The Company may make an effort to hold the Employee’s position open for the
     period of the approved leave, however, reinstatement is not guaranteed.

            (h)    An Employee may not take more than one (1) non-legally mandated leave of
     absence under this Article in any consecutive two (2)-year period.

            (i)     Exercise of the Company’s discretion as provided herein does not constitute a
     breach of this Article and/or the Agreement.

                                       ARTICLE 27 — PAID HOLIDAYS

                  Paid Holidays: All Employees shall enjoy the following nine (9) paid holidays per year:

                         1.     New Year’s Day (January 1st or observed day)

                                                         19
      117583191



                                               Exhibit 1, p. 25
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 26 of 63 Page ID #:245




                     2.      President’s Day (3rd Monday in February)

                     3.      Memorial Day (last Monday in May)

                     4.      Independence Day (July 4th or observed day)

                     5.      Labor Day (First Monday in September)

                     6.      Thanksgiving Day (Fourth Thursday in November)

                     7.      Christmas Day (December 25th or observed day)

                     8.      Two (2) Personal Days

             The Company and the Union may substitute the above holidays for an alternative day
      through mutual agreement.

             Holiday Pay: When drivers work an AWS of four days a week (ten hours a day), then
      holiday pay shall be ten (10) hours at the Employee’s straight time rate of pay.

              Eligibility: Each non-probationary Employee is eligible for the above holidays. Any
      Employee working on any of the above holidays or the observed day(s) shall receive holiday
      premium pay, which for the puipose of this provision is identified as one and one-half times the
      driver’s hourly rate. If a holiday falls on either a Saturday or Sunday it shall be observed either
      the Friday immediately preceding or the Monday immediately following.

              Extra Work: Holiday work shall be offered to drivers on the basis of seniority. If an
      insufficient number of drivers volunteer to work based on seniority; the Employer reserves the
      right to fill the necessary slots in inverse seniority order. Example: “Ask the top, force the
      bottom.” Any Employee who refuses to work a holiday pursuant to this Article is subject to an
      Attendance Occurrence and/or whatever applicable discipline pursuant to the Company’s
      attendance policy, which it may in its sole discretion, revise in accordance with its business
      needs.

              Personal Holidays: All non-probationary Employees shall be entitled to receive two (2)
      paid personal days per contract year during the life of this Agreement. The Company reserves
      the right to approve the date of the requested paid personal days. Personal holidays will be
      scheduled and approved in accordance with business needs, but if a driver requests a personal
      day and the Company is unable to grant the day before the end of the calendar year the Employee
      shall be paid for the days. The Employee must give five (5) working days’ notice, of his or her
      request to take a personal day. The Employer will give at least two (2) working days’ notice to
      the Employee answering their request to take a paid personal day. Holidays and personal days
      shall be counted as “hours worked” for purposes of calculating overtime in accordance with the
      terms of this Agreement. Any unused personal days shall be forfeited at the end of the Calendar
      year. In the event of an unexcused absence, the Company reserves the right, in its sole
      discretion, to utilize available personal day, if the Employee does not have any accrued, but
      unused vacation days remaining.


                                                      20
      117583191



                                            Exhibit 1, p. 26
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 27 of 63 Page ID #:246




                                        ARTICLE 28 — PAID SICK DAYS

                  All non-probationary Employees are entitled to five (5) sick days per each calendar year.

             Pay for Sick Days: Sick pay shall be ten (10) hours of pay at the Employee’s straight
      time rate of pay. A maximum of three (3) unused sick days shall be paid out at the end of the
      calendar year and the remainder, if any, will be forfeited.

             In the event an Employee takes a sick day during a week in which he or she works, the
      sick day shall be counted as “hours worked” for purpose of calculating overtime in accordance
      with the terms of this Agreement.

                                           ARTICLE 29 — VACATION

             Vacation Accrual-. A non-probationary regular Employees shall accrue vacation time
      with pay based on the following schedule after successful completion of the probationary period:

                  Years of Service                               Week(s) of Paid Vacation

                      After 1 year                                   1 Week (4 days)

                      After 2 years                                 2 Weeks (8 days)

                      After 7 years                                 3 Weeks (12 days)

                      After 15 years                                4 Weeks (16 days)


              Drivers accrue vacation benefits on a daily basis, based upon actual working days except
      as otherwise set forth herein. Vacation will begin to accrue after successful completion of the
      probationary period but may not be used until after 1 year of employment. Work days absent for-
      paid vacation, paid sick days, paid funeral leave and jury duty will be counted as days worked
      for purposes of this provision, but vacation time does not accrue during unpaid leaves of absence
      or other periods of inactive service.

              Vacation Pay. Vacation pay shall be paid at ten (10) hours per day at the Employee’s
      straight time rate for AWS. Any earned but unused vacation time shall be paid out as set forth
      herein.

            Scheduling: Employees will be able to select vacation(s) preferences during a specified
     period of one week of vacation scheduling in January of each year, which the Company will
     announce such time for vacation scheduling in advance. If vacation is not selected by an
     Employee during this period of time for the upcoming year, the Employee will only be able to
     schedule vacation at later periods on a first come, first served basis, based on business needs.
     Seniority shall prevail in determining vacation preference. While seniority shall prevail in
     determining vacation preference, a senior driver will not be allowed to “bump” junior drivers
     once the vacation has been scheduled. The Company will determine the number of drivers that
     may be off at any given time. When the vacation period has been scheduled, the time for taking

                                                          21
      117583191



                                                Exhibit 1, p. 27
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 28 of 63 Page ID #:247




      such vacation(s) shall not be changed unless the change is mutually agreed upon between the
      Employee, the Company and the .

              Company Scheduling: The Company reserves the right to schedule vacation days where
      an Employee has additional accrued time he or she has not scheduled as part of the vacation
      scheduling in January, but only after the Company has provided the Employees with notice of
      such intended scheduling and at least a two-week period for the Employee to elect to schedule
      his or her remaining vacation. If the Company does schedule vacation days for an Employee
      pursuant to this Article, such scheduled vacation days will be scheduled in the last quarter of the
      calendar year. In the event of an unexcused absence pursuant to the Company’s current
      attendance policy, the Company reserves the right, in its sole discretion, to utilize and pay out to
      the Employee one day of accrued, but unused vacation for each day of an unexcused absence. If
      the Employee has other available paid time off eligible for use, he or she may use this paid time
      off rather than a vacation day.

                  Vacation Rules'.

                         1.      Vacation time of a week or more may be used for an extended illness.

                         2.      If holidays fall during the vacation period, the Employee shall receive an
                  extra day’s vacation with pay. Employee must still obtain advance approval to use such
                  day.

                          3.     In the event an Employee takes a vacation day during a week in which he
                  or she works, the vacation day shall be counted as “hours worked” for purposes of
                  calculating overtime in accordance with the terms of this Agreement.

                          4.     Any Employee may request or may be requested to work during his or her
                  vacation, when agreeable by both parties (Employee and Company) and when there is a
                  shortage of manpower. The Employee may reschedule his or her vacation for another
                  time. In the event there is no mutually-agreeable alternative vacation week(s) available,
                  the Employee shall be paid for his or her vacation as a lump sum in the next payroll
                  period following March 31 of the next calendar year.

                         5.      Any Employee may take single vacation days.

                        6.       Accrued vacation pay shall be paid within two (2) weeks to all Employees
                  who quit, are discharged or are laid-off along with the Employee’s final paycheck.

                         7.       In case of death of an Employee, the vacation pay due the Employee shall
                  be paid to the Employee’s estate within two (2) weeks after legal proof of death.

                                     ARTICLE 30 — HEALTH AND WELFARE

              Section 1.    Designation of Plans: The Company shall, subject to all provisions of this
      Article, provide coverage to a qualified full-time Employee and to his/her dependents, under the
      Union’s Western Alliance Trust Fund (“WATF”). In the event the premiums under the WATF
      increase more than 6% in a given year, the parties agree to re-open negotiations on this Article,

                                                         22
      117583191



                                               Exhibit 1, p. 28
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 29 of 63 Page ID #:248




      at the Company’s election, to address adjustment of the Employee contribution. The Union will
      notify the Company, in writing, of any changes in the plan as soon as the Union learns of any
      change or increases. The parties agree to meet within thirty (30) day of the Company’s request.

                  Section 2.     Qualified Employee Defined: A qualified Employee shall:

                          (1)    have at least three (3) months’ seniority since his/her most recent date of
                  hire, and passed all the training and be fully qualified and scheduled to operate on his/her
                  own;

                         (2)     have made through payroll deduction, all contributions required under
                  Section 3 and 4 of this Article; and

                         (3)     Be a bargaining unit member who has worked or received pay for at least
                  seventy five (75) straight-time hours during the calendar month immediately preceding
                  the month for which benefits are being provided.

              Section 3.     Employee and Dependent Coverage: Employee and Dependent coverage
      (if Employee elects dependent coverage and their required contribution is made by Employee)
      shall begin on the first day of the third month following Employee’s date of employment;
      provided he or she has not been employed for at least three (3) months within the last 12 months
      of his or her recent hire date. Date of employment shall mean the date on which the Employee
      works more than four (4) straight-time hours in the employment of the Company and is paid
      wages for such work. All benefits shall terminate on the last day of the month of termination,
      subject to Employee’s voluntary election to continue coverage at Employee’s sole cost (COBRA
      election). Last day of employment shall mean the last day on which the Employee works any
      straight-time hours for which Employee is paid wages for such work.

             Section 4.     Required Contribution for Group Health Plan: The Company shall
      contribute the percentage listed below on behalf of the Employee and the dependents of the
      Employee. The Employee shall contribute the remaining percentage on behalf of the Employee
      and the dependents of the Employee. The Employee may waive coverage by completing a
      Waiver, of Coverage form and providing a certificate of medical insurance from another qualified
      “Group” Health Plan.

             Section 5.    Employee Contribution: Effective with the first (1st) day of the first (1st)
      calendar month commencing after the ratification of the Agreement, a qualified Employee shall,
      through payroll deductions, contribute the amount shown in this Section toward the cost of the
      premium for selected coverage:

                                            Weekly                            Toll Monthly Contribution
                                            Employee
      WATF Health Plan                      Contribution


      Employee and Family .                 $30 per week for 2016              $1,024.80



                                                         ' 23
      117583191



                                                Exhibit 1, p. 29
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 30 of 63 Page ID #:249




             Weekly premiums will increase each year by the same percentage of any increase in
       premiums.

               Section 6. ' Expiration: Upon expiration of this Agreement the Company will have
       the option to pursue other medical benefit plans.

               Section 7.      National or State Health Care System: In the event the Employer is
       eligible to participate in any National or State Healthcare System the parties agree to reopen this
       Section for further negotiations.

                                              ARTICLE 31 — WAGES

                          Wage Rates for Non-Probationary Employees:

                       January 1, 2016    April 1,2017       April 1,2018        April 1,2019        April 1, 2020
Day Shift              $20.75             $21.25             $22.00              $22.50              $23.25
Night Shift*           $21.75             $22.25             $23.00              $23.50              $24.25


       *AI1 drivers who are scheduled to start work after 5 pm and before 5 am shall be considered
       “Night Shift” drivers. Any driver that is scheduled to work a combined night and day shift in a
       single week shall receive the night shift pay on all days worked.

                   Drivers will receive incentive pay under Toll’s current incentive pay schedule.

               For purposes of overtime, as set forth in this Agreement, the overtime rate of pay will be
       based only on the driver’s hourly, straight-time rate and will not include incentive pay, shift
       differential pay or any other foim(s) of compensation.

                          ARTICLE 32 — TEAMSTERS PENSION PLAN (SUMMARY)

                  Section 1. All Compensable Hours: Effective January 1, 2016, the Employer shall
          pay into the Western Conference of Teamsters Pension Trust on account of each member of
          the Bargaining Unit for each hour of which compensation was paid. The hourly contribution
          rate shall be $1.75 per compensable hour. On April 1, 2017, the Employer shall increase the
          contribution into the Western Conference of Teamsters Pension Trust to an hourly
          contribution rate of $2.00 per compensable hour. On April, 2020, the Employer shall increase
          the contribution into the Western Conference of Teamsters Pension Trust to an hourly
          contribution rate of $2.50 per compensable hour.

                          January 1, 2016 - $1.75 one dollar and seventy-five cents per compensable hour
                          April 1, 2017 - $2.00 two dollars per compensable hour
                          April 1, 2020 - $2.50 two dollars and fifty cents per compensable hour

               Section 2.      Remittance of Pension Wages: The total amount due for each calendar
       month shall be remitted in a lump sum not later than fifteen (15) days after the last business day
       of each month. The Employer agrees to abide by such rules as may be established by the trustees
       of said trust to facilitate the determination of the hours for which contributions are due, the

                                                           24
       117583191



                                                 Exhibit 1, p. 30
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 31 of 63 Page ID #:250




      prompt and orderly collection of such amounts and the accurate reporting and recording of such
      amounts paid on accounts of each member of the bargaining unit. Failure to make all payments
      herein provided for, within the time specified, shall be a breach of this Agreement.

             Section 3.     Break-in Rate for Probationary Employees: (Applicable to all Employees
      covered by this agreement serving a probationary period.)

              For probationary Employees hired on or after January 1, 2016, the Employer shall pay an
      hourly contribution rate of $0.10 per compensable hour during the probationary period as defined
      in Article 7, but in no case for a period longer than 90 calendar days from an Employee’s first
      date of hire. Contributions shall be made in accordance with the schedule set forth in Article 32
      Section 1 of this agreement. After the expiration of the probationary period as defined in Article
      7, but in no event longer than 90 calendar days from an Employee’s first date of hire, the
      contribution shall be increased to the full contractual rate.

              Section 4.     Non Liability Clause: Except as required under the Agreement and
      Declaration of Trust, to which the Employer and the Union are both signatory, and Section 4201
      at seq. of the Employee Retirement Income Security Act of 1974, as amended, it is understood
      that the Employer will not be liable or assume any responsibility except to remit, pay and
      forward such contributions to the Western Conference of Teamsters Pension Plan.

                       ARTICLE 33 — FULL AND COMPLETE AGREEMENT

              This Agreement represents the sole and complete Agreement between the parties and
      supersedes all agreements, understandings and practices effective prior to the date of this
      Agreement, whether the same were based on implication, written or oral agreements or other
      factors. The Bargaining Unit Employees must comply with Employer’s policies and procedures
      that do not conflict with this Agreement, as outlined in Article 10 Company Rules and Postings
      and Article 8 Management Rights.

                                   ARTICLE 34 — SAVINGS CLAUSE

              Nothing contained in this Agreement is intended to violate any federal or state laws, rules
      or regulations made pursuant thereto. If any part of this Agreement is construed to be in such
      violation, then that part shall be null and void and the parties agree to bargain in good faith to
      amend it.

                                       ARTICLE 35 — DURATION

                 Section 1. Effective Date: This agreement shall be in force and effect for a period of
         five years from January 1, 2016, through March 31, 2021.

              Section 2.      Renewal: It is the intent of the parties that a successor Agreement to this
      one shall be completed prior to the expiration date provided in Section 1 of this Article, and that
      all of the terms of such successor Agreement be agreed upon without any interruption of the
      Company’s business and without either the Company or the Union engaging in economic
      activity against the other. The Company and the Union thereof agree to commence negotiations
      on a successor Agreement sufficiently in advance of the expiration date provided in Section 1 of

                                                      25
      117583191



                                            Exhibit 1, p. 31
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 32 of 63 Page ID #:251




      this Article to allow for settlement to be reached. In the event the parties are bargaining in good
      faith beyond the expiration of the date provided in Section 1, the parties agree that there shall be
      no interruption in the Company’s business as a result of the inability to ratify a new Agreement
      prior to the said expiration date.




                                                      26
      117583191



                                            Exhibit 1, p. 32
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 33 of 63 Page ID #:252




             IN WITNESS THEREOF, the duty chosen have authority to enter into this Agreement on
      behalf of themselves and their principals and representatives of the parties hereby affirm that
      they hereto affix their hands.

      FOR THE COMPANY:                                FOR THE UNION:
      TGF Management Group Holdco, Inc.               Teamsters Local 848
      Doing business as Toll                          Wholesale Delivery Drivers,
                                                      Salesperson, Industrial and
                                                      Allied Workers
                                                                                 A
      Micit Fountain, CEO                             Secretary Treasurer


      Date: June 3rd, 2016                            Date     &//£ / A

         MfL drat*
      Mick Fountain, Chief Executive Officer          Business Representative



      Date: June 3ld, 2016                            Date




                                                    27
      117583191



                                          Exhibit 1, p. 33
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 34 of 63 Page ID #:253




     Letter of Understanding
    Between Toll Global Forwarding and Teamsters Local 848


    If the Employee has other medical coverage (including the ACA) that
    qualifies for a waiver of coverage with the Western Alliance Trust Fund
    (and provides proof thereof) and he or she waives the medical coverage
    available under this Agreement, Employer will pay to Employee 50% of
    Employer's cost of Western Alliance Medical coverage each month,
    minus applicable taxes.




                                                    C^-'Zdr
    Toll Global Forwarding                 Teamsters Local 848




    Date                                    Date




    118806646

                                 Exhibit 1, p. 34
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 35 of 63 Page ID #:254




     Letter of Understanding
     Between Toll Global Forwarding and Teamsters Local 848


    If the Employee has other medical coverage (including the ACA) that
    qualifies for a waiver of coverage with the Western Alliance Trust Fund
    (and provides proof thereof) and he or she waives the medical coverage
    available under this Agreement, Employer will pay to Employee 50% of
    Employer's cost of Western Alliance Medical coverage each month,
    minus applicable taxes.



                                                    5

                                                              &

    Toll Global Forwarding                 Teamsters Local 848




    Date                                    Date




    118806646

                                 Exhibit 1, p. 35
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 36 of 63 Page ID #:255




     EXHIBIT 2




                                                                       <




                                                         EXHIBIT 2


                                 Exhibit 2, p. 36
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 37 of 63 Page ID #:256




                               TABLE OF CONTENTS

                                                                        Page
    PREAMBLE                                                               1

    ARTICLE 1 — RECOGNITION                                                1

    ARTICLE 2 — UNION SECURITY                                             1

    ARTICLE 3 — CHECK-OFF                                                  2

    ARTICLE 4 — D.R.I.V.E. DEDUCTIONS                                      3

    ARTICLE 5 — SHOP STEWARDS                                              4

    ARTICLE 6 — ACCESS TO THE EMPLOYER’S PREMISES                          5
    ARTICLE 7 — SENIORITY                                                  6

    ARTICLE 8 — MANAGEMENT RIGHTS                                          8

   ARTICLE 9 — NO STRIKE — NO LOCKOUT                                      8

   ARTICLE 10 — COMPANY RULES AND POSTINGS                                 9

   ARTICLE 11 — DISCIPLINE & DISCHARGE                                     9

   ARTICLE 12 — GRIEVANCE & ARBITRATION....                               11

   ARTICLE 13 — SUCCESSORS & ASSIGNS                                      13

   ARTICLE 14 — WORK JURISDICTION                                         14

   ARTICLE 15 — MEAL AND REST PERIODS                                    14

   ARTICLE 16 — PARKING                                                  14

   ARTICLE 17 — SANITARY CONDITIONS                                      15

   ARTICLE 18 — SAFETY,                                                  15

   ARTICLE 19 — SMOKING                                                  15
                                                                                     i.
   ARTICLE 20 — NON-DISCRIMINATION                                       15

   ARTICLE 21 — EXAMINATION FEES & IDENTIFICATION FEES                   15

   ARTICLE 22 — EQUIPMENT,                                               16
                                                                                     r.
                                        i
   LAX01J172388 lv2                                                                  I


                                 Exhibit 2, p. 37
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 38 of 63 Page ID #:257




    ARTICLE 23 — MINIMUM DAY GUARANTEE,                                   16

    ARTICLE 24 — JURY DUTY & COMPANY WITNESSES                            16

   ARTICLE 25 — BEREAVEMENT LEAVE                                         17

   ARTICLE 26 — LEAVE OF ABSENCE                                          17

   ARTICLE 27 — PAID HOLIDAYS                                             19

   ARTICLE 28 — PAID SICK DAYS                                           20

   ARTICLE 29 — VACATION                                                 20

   ARTICLE 30 — HEALTH AND WELFARE                                       21

   ARTICLE 31—WAGES                                                      23

   ARTICLE 32 — TEAMSTERS PENSION PLAN (SUMMARY)                         23

   ARTICLE 33 — FULL AND COMPLETE AGREEMENT                              24

   ARTICLE 34 — SAVINGS CLAUSE                                           25

   ARTICLE 35 — DURATION                                                 25

                                                                                     !
                                                                                     [




                                                                                         i


                                                                                         i


                                       ii
   LAX01_31723881v2
                                                                                         j.
                                 Exhibit 2, p. 38
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 39 of 63 Page ID #:258




                                            PREAMBLE

           This Agreement is entered into effective this                                   between
   TGF Management Group Holdco, Inc. d/b/a Toll, (hereinafter referred to as “the Company or
   the Employer”) and the International Brotherhood of Teamsters Local 848, (hereinafter referred
   to as “the Union”). The general purpose of this Agreement is to provide for the reasonable
   efficient operation of the Employer’s trucking operations and the establishment of rates of pay,
   hours of work and other conditions of employment. The parties agree as follows:

                                 ARTICLE 1 — RECOGNITION

           The Company recognizes the Union as the sole and exclusive bargaining agent for its
   Port Drayage Drivers employed by the Employer at the San Pedro facility located at
   400-450 Westmont, San Pedro, CA 90731 (“San Pedro Facility”). California operating under
   contract with NLRB Certification Case 31-RC-072975 dated April 20, 2012 (“the Bargaining
   Unit”).

          Included:            All Full-time and Part-time Port Drayage Drivers.

          Excluded:            Express or Long Haul Drivers, all other employees, office clerical
                               employees, managers and guards and supervisors, as defined in the
                               Act.

                               ARTICLE 2 — UNION SECURITY

          (a)      Union Shop: Employees engaged in the performance of work covered by this
   Agreement shall either become a member of the Union or elect “non-member” status no later
   than the 31st day following the beginning of his or her employment or the Effective Date of the
   Agreement. Employees are further required, for the period of the Agreement, to remain in good
   standing (either as a member or with non-member status), subject to the provisions of
   Section 8(a)(3) of the Labor Management Relations Act.

           Employees who choose “non-member status” shall be required to pay a reduced service
   fee equivalent to his or her proportionate share of union expenditures that are necessary to
   support solely representational activities in dealing with the employer on labor-management
   issues. No employee shall be discriminated against on account of his or her membership or
   “non-member status” in the union.

           Upon determining that an Employee is not in good standing, the Union shall inform the
   Company in writing and state the reasons for such lack of good standing. Upon request by the
   Union, the Company shall begin the process to discharge the Employee no later than
   seven (7) days after the Union informs the Company that an Employee is not in good standing,       !■




   and the termination shall be completed no later than 10 (ten) business days after the Union
   informs the Company that an Employee is not in good standing. The employee shall be removed        i
   from service without pay after file seventh day. The above does not apply if the Employee
   corrects his or her status with the Union, and the Union so informs the Company, or if the
   Employee is otherwise entitled to employment under the provisions of existing state or federal
   laws.




                                          Exhibit 2, p. 39
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 40 of 63 Page ID #:259




            (b)    Union Business: No member of the Union shall be discharged or discriminated
    against for upholding Union rules or principles or doing Committee work for the interest of the
    Union, provided, however, that the employee does not engage in egregious or outrageous
    conduct in performance of such Union business and does not otherwise violate the rules of this
    Agreement or the policies of the Company.

           (c)    Notification to the Union: Within fifteen (15) days from the date of hiring a new
    employee in the bargaining unit, the Company will give to the Union in writing the following
    information on the newly hired employee:

            Name, home address, social security number, and date of hire.

   Likewise, within five (5) business days upon release from the Company of an employee in the
   bargaining unit, the Company shall notify the Union with the following information: name,
   address, social security number and date of termination.

                                    ARTICLE 3 — CHECK-OFF

            (a)   The Employer will deduct any authorized Union dues, transfer fee and/or
   initiation fee owed the Union, as well as currently monthly Union dues, and/or uniform
   assessments from the paycheck of employees who have signed proper legal authorizations for
   such deductions, and who are covered by this Agreement on the last pay day of the month
   preceding the current month for which the current Union dues and initiation fees are due to the
   Union. The Company shall only check off initiation fees and Union dues upon presentation of a
   check-off authorization provided to the Company by the secretary-treasurer of the Union. The
   check-off authorization must contain the employee’s name, date, signature, social security
   number (if applicable), work permit number (if applicable) and an express statement of
   authorization by the employee requesting and consenting that Union dues, transfer fees,
   assessments and/or initiation fee(s) be deducted from the employee’s pay.

           (b)    Upon receipt of the check-off form, the Company will have 14 calendar days to
   process the form. The Company will then deduct such dues in the amounts certified to the
   Company to cover the amount authorized by each employee, provided the employee has
   sufficient net earnings in his/her pay, but in any event the Employer agrees to remit to the
   Secretary-Treasurer of the Union all Union dues, transfer fees, initiation fees and/or uniform
   assessments so deducted from the employee’s pay check, even if in a lesser amount than
   previously authorized due to insufficient funds in the employee’s paycheck by the fifteenth (15th)
   of the month after the month in which the deductions are made. No deduction shall be made
   which is prohibited by applicable law.

            (c)   Deductions shall be made beginning the first payday of the month following the
   calendar month in which dues are payable. Deductions shall be made weekly in even equal
   installments divided from the monthly billing received from the Union. All sums shall be
   deducted in the amounts certified to the Company by the secretary-treasurer ofthe Union, and
   respective shares shall be sent to the Union within the time specified in Section (b) of this
   Article.                                                                                             i



                                                   2
   LAX01J172388 lv2


                                           Exhibit 2, p. 40
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 41 of 63 Page ID #:260




          (d)    The Company shall furnish to the Union on a monthly basis, a list of all
   employees hired, discharged, laid-off, on leave, or returning from leave, transferred from the
   Bargaining Unit or who have voluntarily terminated employment with the Company.

          (e)    The Union is responsible for providing orientations to new employees in the
   Bargaining Unit regarding any requirements to join the Union and pay dues and initiation fees.       s
   Any questions concerning the deduction of fees will be handled between the employee and the
   Union.
            (f)   In the event that the Company fails to timely remit initiation fees and Union dues
   that it has deducted, the Union must provide notice to the Company along with an accounting,
   which includes the employee’s full name, social security number and/or work permit number,
   amount owed and date amount became due. The Employer will thereafter have an additional
   30 days to provide the Union with payment or proof that the said employee was not employed as
   a member of the Bargaining Unit with the Company at the time that the proposed amount
   became due.
           (g)   The Union hereby indemnifies and holds the Employer harmless for all claims,
   demands, suits or other forms of liability that may arise against the Employer because of the
   enforcement of the provisions in this Article 3 . The Union will indemnify the Company against
   all claims made against it by reason of compliance with this Section.

                             ARTICLE 4 — D.R.I.V.E. DEDUCTIONS

          The Employer agrees to deduct from the paycheck of all employees who submit
   authorization cards and are covered by this Agreement voluntary contributions to D.R.I.V.E. in
   the amount specifically authorized by the employee. The authorization must contain an express
   statement of authorization by the employee requesting and consenting that the D.R.I.V.E.
   contribution be deducted. D.R.I.V.E. shall notify the Employer of the amounts designated by
   each contributing employee that are to be deducted from his/her paycheck on a weekly basis for
   all weeks worked. In the event of insufficient funds, the Employer will not deduct any amount
   under this Article in that week. The employee must provide written notice to the Union and the
   Union shall notify the Employer 30 days in advance if employee would like to terminate or alter
   the deductions by providing notice to the Employer of the employee’s written notification. The
   phrase “weeks worked” excludes any week other than a week in which the employee earned a
   wage. The Employer shall transmit to:

                                             D.R.I.V.E.
                              International Brotherhood of Teamsters
                                     25 Louisiana Avenue, NW
                                      Washington, DC 20001

          The Employer will send on a monthly basis, one check for the total amount deducted                r
   along with the name of each employee on whose behalf a deduction was made, the employee’s
   social security number and the amount deducted from the employee’s paycheck. No such
   authorization shall be recognized if in violation of state and federal law. No deductions shall be
   made which are prohibited by applicable law.

                                                   3
                                                                                                            !■




   LAX01_3172388 lv2

                                           Exhibit 2, p. 41
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 42 of 63 Page ID #:261




           In the event the Employer fails to timely remit the D.R.I.V.E. deduction, D.R.I.V.E. must
   provide notice to the Employer along with an accounting, which includes the employee’s full
   name, social security number and amount owed and date amount became due. The Employer
   will thereafter have an additional 30 days to provide D.R.I.V.E. with payment or proof the
   employee was not employed as a member of the Bargaining Unit at the time the proposed
   amount became due.

           The Union and D.R.I.V.E. hereby indemnify and hold the Employer harmless for all
   claims, demands, suits or other forms of liability that may arise against the Employer because of
   the enforcement of the provisions in this Article. The Union and D.R.I.V.E. will indemnify the
   Employer against all claims made against it by reason of compliance with this Article.

                                 ARTICLE 5 — SHOP STEWARDS

            The Employer recognizes the right of the Union to appoint or to elect shop steward(s) and
   a Grievance Representative from the Employer’s seniority lists. There will be no more than
   one shop steward per shift, or if the shift exceeds fifty (50) employees, a second shop steward
   may be appointed. The Union will submit to the Employer a written list of all stewards. Each
   steward shall be the principal “Grievance Representative,” but there will be no more than one
   principal Grievance Representative(s) per grievance. Also, the Union will submit any changes to
   this list before said changes are recognized by the Employer. The authority of the shop stewards,
   so designated by the Union, in handling grievance work, shall confine their settlement activities
   to their own shift. Each shop steward is subject to all rules regarding employee conduct on the
   premises of the Employer. The Employer shall be able to impose discipline up to and including
   discharge in the event the shop steward violates the Employer’s rules in acting as a shop steward
   (unless those rules violate the steward’s rights under the National Labor Relations Act (NLRA)
   to not be unlawfully discriminated against while performing his or her shop steward duties in a
   reasonable, necessary and proper manner) or Grievance Representative and/or takes
   unauthorized strike action, slowdown or work stoppage action.

           The shop steward’s duties shall not exceed the following:

                  1.     the investigation and presentation of grievances with the Employer’s
           designated representative in accordance with the provisions of this Agreement;

                      2.   checking the dues books and cards of other Bargaining Unit employees;

                   3.     the transmission of such messages and information as originates and is
           authorized by the Union or its officers, provided such messages are in writing or, if not in
           writing, are of a routine nature and do not involve work stoppages, slow-downs, refusal
           to handle goods or any other interference with the Employer’s business.

          Shop stewards have no authority to take strike action, slowdown, work stoppage or any
   other action interrupting the Employer-’-^ business. The Employer recognizes these limitations
   upon the authority of the shop stewards.
          (a)    Stewards shall be permitted a reasonable time to investigate, present and process
   grievances on Company property without loss of time or pay during his or her regular working
                                                    4

   LAX01_31723881v2


                                           Exhibit 2, p. 42
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 43 of 63 Page ID #:262




    hours; and where mutually agreed to by the Union and the Employer, off the property or other
    than during his or her regular schedule without loss of pay. Stewards shall not be compensated
    by the Company to investigate, present and process grievances other than during his or her
    regular shift.

            (b)     The Employer has the right to impose proper discipline, including discharge, in
    the event the shop steward or Grievance Representative takes unauthorized strike action,
    slowdown or work stoppage action in violation of this agreement. There shall be no form of
    unlawful discrimination, or retaliation of, any Shop Steward for engaging in lawful conduct in
    pursuit of his or her shop steward’s duties.

                       ARTICLE 6 — ACCESS TO THE EMPLOYER’S PREMISES

            (a)     For the purpose of investigating grievances, adjusting disputes, or discussing or
    answering questions between the Employer and the employees covered hereby, the Employer
    shall permit an authorized representative of the Union designated pursuant to the NLRA, to visit
    the facility, where the employees are working, at reasonable hours, with notice to Rich Nazzaro
    or the Vice President of West Coast Operations or the Human Resource Manager no later than
    upon arrival at the facility in the event the visit is to inspect the job site and/or enforce this
    contract pursuant to the NLRA. In the event the purpose of the visit is not to inspect the job site
    and/or enforce this contract as set forth above, forty-eight (48) hours’ notice will be provided as
    set forth herein unless an appointment has been agreed upon with the Company to occur in less
    than forty-eight (48) hours. An email shall be an acceptable form of notification, provided the
    email is sent to both the individuals identified above or the individuals then occupying those
    positions. During the visit, the authorized representative shall not interfere with regular business
    operations. The Union must provide the Company with written notice of any individual
    authorized to access the premises pursuant to this Article. Written notice of authorized
    individuals must be provided no later than seven (7) days in advance of any such visit.

            Toll shall provide a locked bulletin board located near the dispatch office located at the
    San Pedro Facility for the exclusive use and posting of all Union notices. Toll will maintain a
    key and will provide one key to a designated Union Representative (The Union shall be
    responsible for any additional keys needed, but shall provide the Employer with a list of any
    person who receives a key). The Union shall only use the locked bulletin board for posting
    notices, announcements of Union meeting(s), Union events, or any other information authorized          v
    by the Union. The Union shall provide the Company with a copy of any posted notices no later
    than the time of posting. All Union notices must be signed by a delegated Union Member and
    may not violate the Company’s policies against offensive or harassing conduct, including
    without limitation, sexual harassment, bullying and intimidating behavior.




                                                                                                           l.
                                                                                                           f



                                                     5
                                                                                                           j
   LAX01_3172388 lv2


                                            Exhibit 2, p. 43
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 44 of 63 Page ID #:263




                                         ARTICLE 7 — SENIORITY

           The Employer recognizes the general principle that senior employees shall have the
    preference to work. Seniority shall be defined as the length of continuous service of the
    employee with the Employer, subject to the following provisions:

           Seniority shall not apply to any employee until he or she has been employed for
   ninety (90) calendar .days, such time to constitute a probationary period during which an
   employee may be terminated if in the sole opinion of the Employer the employee is judged
   unsatisfactory. Upon successful completion of the Probationary Period, an employee’s seniority
   date shall be his first day of employment.

          The Employer shall submit an updated seniority list to the Union each month if there has
   been a change in seniority or upon reasonable request. No list will be provided where there has
   been no change in seniority during the month.

         In the event the Employer is a party to a merger, the seniority of the Bargaining Unit
   employee who is affected thereby shall be determined by the Union.

            Employees shall lose their seniority as a result of:

                              a.      discharge for just cause;

                              b.      resignation; or

                              c.      retirement.

          (a)     An employee shall have deemed to have resigned unless she/he shall have
   obtained a leave of absence from the Employer for:

                               a.     failure to respond to a notice of recall sent via Overnight Express
                       to the employee’s last known address provided by employee, within 72 hours of
                       notification by the employer. It is the employee’s responsibility to provide a
                       current address and phone number to the Company;

                             b.     unauthorized failure to report for work for three (3) consecutive
                       days when work is available and;

                              c.      laid off in excess of 12 months.

           (b)    Any Employee who is absent because of non-occupational illness or injury shall
   maintain his/her seniority for a period of the length of the approved leave, but no more than
   12 weeks, after which he/she shall be deemed to have resigned unless he/she qualifies for a leave
   of absence from the Employer. The Employer shall have the right to require the employee
   document the illness or injury and provide timely and regular updates as to any changes in work
   status. The Employer shall have the right to communicate directly with the employee’s health
   care provider as necessary to clarify documentation provided by the Employee. An employee is
   subject to discipline up to and including discharge for failing to reasonably communicate with
                                                        6
   LAX01_3172388 lv2


                                               Exhibit 2, p. 44
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 45 of 63 Page ID #:264




   the Employer regarding the status of his/her injury, any information reasonably necessary to
   transition his/her duties and expected retum-to-work date.

            Any Employee who is absent because of a job-related injury will upon his/her return to
   the same position, return with the full seniority he/she had when the injury occurred. The
   Employee must be able to perform the same work and must have a doctor’s release. This
   injury/disability leave cannot extend beyond a period of one (1) year and six (6) months. In the
   event the Employee, upon returning to work, is unable, without reasonable accommodation, to
   perform his/her previous job, the Employer may, in its sole discretion, place the employee in a
   different job, including a job outside of the Bargaining Unit that the employee is able to perform,
   with or without reasonable accommodation. The Employer is not obligated to create a new
   position or alter the job duties or requirements associated with any position for purposes of
   placing the returned employee in an available position. The employee will be paid the applicable
   rate for the different job even if less than the rate of pay previously earned in the Bargaining Unit
   Position. If the employee remains in the different job for longer than 90 days, the employee will
   no longer be a member of the Bargaining Unit.

          Job Postins: Notice of a job vacancy, which the employer intends to fill, will be posted
   on the Union bulletin board for a period of at least five (5) working days. The positions for
   promotion within the bargaining unit and shall be awarded to the most senior Driver in the
   bargaining unit.

           The Employer shall post for a period of not less than five (5) days any positions for
   promotion outside the bargaining unit. The determination of an applicant’s qualifications shall
   be within the sole discretion of the Employer. Such promoted Employees shall receive the new
   rate of pay for said position once the employee commences to perform the new job and shall be
   subject to a normal ninety (90)-day probationary period in the new position.

            Notice ofLay-off or Change of Shift:

           The Employer agrees to give one (1) week’s notice of all permanent shift changes to all
   affected Employees. The Employer agrees to give reasonable notice depending on the business
   needs and in the sole discretion of the Employer of all temporary shift changes to all affected
   employees. Within reason, the Employer will make every effort to accommodate Employees
   with regard to shift changes. Temporary shift changes shall be defined at a shift change of
   one (1) month or less.

                   1.     The least senior employee shall be moved off his shift first unless there are
            more senior employees willing to volunteer to be moved.

                    2.     Employees with more seniority, who volunteer to work the second or third
            shift assignments, will be accommodated where possible.

                 —3.      When a senior employee volunteers to move to another shift and creates           !
            an opening, the most senior employee on another shift will have first right of refusal to
            move to the open shift.
                                                                                                           I
                                                     7
                                                                                                           i
   LAX01_3172388 lv2


                                            Exhibit 2, p. 45
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 46 of 63 Page ID #:265




                       4.  Schedule changes that are temporary in nature and not intended to be            ;
            long-term, such as earlier start times to accommodate business needs, are not covered by
            this subsection (b).

           (c)     All employees are to be given written notice of an impending lay-off at least
   three (3) days prior to such lay-off. In a reduction of force due to lack of work, the last employee
   hired shall be the first employee laid off (by seniority). In returning, the last employee laid-off
   shall be the first employee rehired until the list of laid-off employees is exhausted. Leave of
   absences granted by the Employer shall not interrupt the continuity of seniority except as
   provided for in this Agreement. Lay-offs for less than 12 months shall not interrupt the
   continuity of seniority.

                             ARTICLE 8 — MANAGEMENT RIGHTS

          (a)     The Union agrees that each and all functions of management that are not
   expressly limited by the language in this Agreement are retained by the Company.

            (b)     The functions listed herein are illustrative of the responsibilities retained by the
   Company and not intended as an all-inclusive list. Among other rights, the Company maintains
   the sole and exclusive right to manage the following Company policies and functions, including,
   but not limited to, the Company’s operations; methods of production; method of payment; and to
   direct the working forces including, but not limited to, the right to control all operations or
   services to be performed by Bargaining Unit Employees or owner-operators as permitted by this
   Agreement; schedule working hours and change working hours based on business needs; hire,
   promote and demote, assign and transfer; suspend, evaluate, discipline, discharge for cause;
   relieve Bargaining Unit Employees because of lack of work or for other legitimate reasons;
   direct the efficiency of Bargaining Unit Employees; make and enforce work rules and
   regulations; make and enforce safety rules and regulations; determine and implement the
   methods, means, assignments, classifications and personnel by which its operations are to be
   conducted, including staffing levels; introduce new and improved methods, materials, equipment
   or facilities; and change or eliminate existing methods, materials, equipment or facilities. These
   are among, but not exhaustive of, the responsibilities vested exclusively in the Company.
   Furthermore, the Company has the right to promulgate reasonable rules and regulations
   pertaining to the covered Bargaining Unit Employees, provided the rules and regulations do not
   conflict with any Articles in this Agreement.

                            ARTICLE 9 — NO STRIKE — NO LOCKOUT

           It is mutually agreed and understood that business needs require efficient and
   uninterrupted performance of all Bargaining Unit work. For the period of this Agreement, there
   shall be no suspension of work, work stoppages, sympathy strikes or strikes of any kind. In
   addition, and without limiting the generality of the foregoing, there shall be no leafleting,
   striking, informational picketing or any other work action that has the purpose or effect of
   slowing down or interfering with work. However, no employee shall be subject to discharge,
   discipline or permanent replacement for refusing to cross or work behind a lawful primary picket
   line sanctioned by Teamsters Joint Council 42.


                                                     8
   LAX01_31723881 v2


                                            Exhibit 2, p. 46
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 47 of 63 Page ID #:266




            For the period of this Agreement, the Company shall not lock out the Bargaining Unit.

                       ARTICLE 10 — COMPANY RULES AND POSTINGS

           The Employer may establish and enforce reasonable rules applicable to employees,
   provided that such rules do not conflict with the provisions of this Agreement. It will be the
   responsibility of the Employer to post and maintain a notice of such rules on a bulletin board
   located in such a position that all employees concerned may have an opportunity to become
   familiar with them.

           Before any new rules are implemented hereafter, the Employer shall forward them to the
   Union by certified mail and allow the Union ten (10) days from the receipt thereof in which to
   request a meeting to discuss same. Such meeting shall be held no later than twenty (20) days
   after the Union receives a copy of the proposed rules. The reasonableness of any rule shall be
   subject to the grievance and arbitration procedure set forth in Article 12 hereof.

           If the Company determines, that any Bargaining Unit employee requires a hazmat
   endorsement to perform his or her duties, which the Company shall determine in its sole
   discretion, the Employee shall be required to obtain it within a reasonable period after such
   notification, but no less than 45 days after such notification. The cost of the hazmat endorsement
   will be reimbursed by the Company. An employee that is unable to obtain a hazmat
   endorsement, that is required due to business needs, and is unable to acquire a work assignment
   through seniority that does not require a hazmat endorsement, shall be laid-off work until he or
   she obtains the hazmat endorsement, there is a work shift available that he or she is able to obtain
   through seniority or the 12 month lay-off period expires, at which time he or she shall be
   terminated.
                           ARTICLE 11 — DISCIPLINE & DISCHARGE

          (a)    Discharge or other discipline shall be for just cause only. When an employee is
   discharged or suspended, the Employer shall advise the affected employee of the reasons for
   such termination or suspension. If the employee requests written notice, such notice shall be
   provided to the employee within one (1) business day after his/her termination or suspension.
   The Union, upon request, shall have the right to receive the reasons for the termination or
   suspension. Except for the grounds set forth below, Bargaining Unit employees shall not be
   discharged unless the following progressive disciplinary steps have been followed:

            The Employee has first received at least one (1) prior verbal warning, one
            (1) prior written warning and one (1) prior suspension for similar or related
            conduct involving accidents or, safety violations and violations of work rules
            within the specified time period stated in Section (c) of this Article for which the
            discharge is proposed. Absenteeism shall fall under the Company’s attendance
            policy. The Company and the Union agree there may be some violation(s) that
            are more serious than others and may warrant more serious discipline than the
            steps outlined above. The Union shall have the right to challenge the more severe
                                                                                                          f*
            discipline or discharge through the grievance process.


                                                     9
   LAX0I_3172388 lv2


                                             Exhibit 2, p. 47
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 48 of 63 Page ID #:267




           Written warnings must be issued to the Employee within five (5) days of the knowledge
   of the occurrence by the Employer and, upon request of the employee, the Employer shall
   provide the shop steward and the Union with a copy of any written warning at the same day as it
   is issued to the Employee via email.

          (b)     Employees may be discharged without the progressive discipline outlined in
   subsection (a) only for the following reasons:

                               (i)    Employee gross negligence resulting in damage to
                        equipment or for improperly breaching the seal of a container such that it
                        does not remain intact;

                              (ii)   theft of Company time, money, goods or merchandise from
                        Employer’s/customer’s premises;

                                 (iii) use or possession of illegal drugs, use or possession of
                        alcohol during working hours; a positive result from any drug or alcohol
                        test; refusal to take a random or post accident drug test when requested;
                        and/or violation of any of the Company’s policy concerning the use of
                        drugs or alcohol.

                               (iv)   fighting, violence, threats of violence, abusive language
                        and/or illegal activities while conducting Company business or on
                        Company grounds;

                                 (v)    falsification or intentional omission of records or daily log
                        books;

                                 (vi)   calling an unauthorized strike or walk-out;

                                (vii) failure to timely report an accident, but no later than the
                        end of the shift during which the accident occurred;

                             (viii) sleeping on the job, without advance permission from the
                        Company due to an issue of safety;

                               (ix) abandoning a Company truck or leaving a load unattended
                        without approval from dispatch;

                                (x)   deviating from a dispatched route, including parking or
                        driving through a residential area without approval from dispatch;

                                (xi)    refusing to sign an acknowledgment of receipt of a
                        disciplinary write-up, provided that by signing, the Employee is not
                        necessarily deemed to agree with the contents of the write-up and reserves
                        the right to grieve the disciplinary write-up. The Union Representative or
                        shop steward shall sign the disciplinary write-up on the employee’s behalf,
                        if the employee refuses;
                                                  10
   LAX01_31723881 v2
                                                                                                        f
                                          Exhibit 2, p. 48
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 49 of 63 Page ID #:268




                                  (xii) a driver’s loss of license due to excessive number of points
                          on his or her driving record. A driver’s loss of license for a conviction for
                          driving under the influence and/or categorization of the driver as
                          uninsurable because of his or her driving record. Although the driver shall
                          not be discharged until he/she is convicted of driving under the influence,
                          he/she may be suspended without pay until an outcome is reached in the
                          case. During the employee’s suspension, the employee will receive any
                          and all benefits required by law. An employee on a suspension of this
                          type will be required to pay the full cost of all insurance premiums. The
                          amount of premium payments and payment schedule will be provided to
                          the employee at the time of suspension. Employees will be required to use
                          all accrued and unused vacation benefits during this suspension.
                          Employees on this suspension will not receive or accrue any discretionary
                          benefits which are based on length of service, such as vacation, sick leave,
                          and holidays; and

                                 (xiii) having unauthorized passengers in Company vehicle.

         The Employer shall notify the Union within two business days of any discharge of an
   Employee for the reasons set forth in this Section.

           (c)    Employer shall complete an investigation resulting in a suspension or discharge
   within ten (10) working days from the employer’s discovery of the incident giving rise to the
   suspension or discharge, unless the employer contacts the Union Business Representative prior
   to the expiration of the ten (10) working days and notifies the Union that the Company needs
   more time to complete its investigation. At the commencement of this period the Union may file
   for mediation.

           (d)     No disciplinary notice may be introduced in any grievance, discipline hearing,
   termination hearing or arbitration hearing which has not been issued within one (1) year from the
   date of the disciplinary notice except in the case of notices concerning accidents. Accidents shall
   not be introduced after 18 months. Failure of an Employee or Union to grieve or protest a
   warning letter to which no other discipline has been attached, when given, shall in no matter be
   deemed prejudicial to said Employee in a future grievance or arbitration hearing involving the
   same offense.

          (e)   Notice of appeal from discharge or suspension must be made to the Employer by
   the Union within ten (10) working days from the date of written notice to the Union. If the
   Employer and Union are unable to agree as to a settlement as of that date, then the discharge or
   suspension may be appealed pursuant to the grievance procedure set forth in Article 12 .

                        ARTICLE 12 — GRIEVANCE & ARBITRATION
                                                                                                          !
         (a)     Should disputes arise between the Employer and the Union concerning the
   meaning, interpretation, application or alleged violation by the Company or Union of the
   Agreement shall be resolved in accordance with the following procedure. There shall be no


                                                   11
   LAXO l_31723881 v2


                                           Exhibit 2, p. 49
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 50 of 63 Page ID #:269




    suspension of work or work stoppage of any kind on account of a dispute that is subject to this
    grievance procedure.

           (b)     Written Grievances. Any dispute concerning the interpretation or application of
   this Agreement may be submitted in writing as a grievance, and it shall state the nature of the
   grievance. Probationary employees are not eligible to participate in the arbitration procedure set
   forth in this Article.

          (c)     Procedure. When such notification is served upon the other party, the following
   procedure shall be observed:

                      1.    The Employer or its duly-appointed representative shall meet with a
             representative of the Union and attempt to resolve the dispute. If the parties are unable to
             resolve the dispute, it shall, upon notice of the moving party proceed to the next step
             listed immediately below.

                    2.      The matter shall be referred to a committee of two representatives
             designated by the Employer and two representatives designated by the Union unless the
             dispute is subject to a termination in such case, it will only be referred to a committee by
             mutual agreement of the parties.

           If after meeting and presenting the merits of both positions, this committee is unable to
   resolve the dispute to the satisfaction of both parties or if the meeting is not agreed to take place
   by both parties because the dispute is subject to a termination, within five (5) business days, the
   moving party may proceed with the grievance as set forth immediately below:

                     3.      The moving party may submit its grievance to an impartial arbitrator for
            arbitration, either party may, upon ten (10) business days notice, submit the grievance to
            binding arbitration in accordance with this Article.

           (d)      The Employer and Union will attempt to agree upon an arbitrator, but if they
   cannot agree, a list of arbitrators will be obtained from the Federal Mediation and Conciliation
   Service. After a toss of a coin to decide which party shall move first, the Employer and the
   Union shall proceed to strike one name from the list of arbitrators until one name remains. The
   next to the last name stricken shall be the alternate arbitrator to serve in the event that the first
   arbitrator is not available.

           (e)    The Arbitrator’s decision shall be final and binding on both parties hereto. The
   Arbitrator shall not be empowered to add to or subtract from this Agreement in any way. The
   Arbitrator may, in cases involving disciplinary action, including discharge, sustain or overrule
   any discharge or discipline as he or she may deem just and equitable and make such award(s) as
   he or she may deem appropriate. Notwithstanding any other provision in this Article 12 , the
   Arbitrator shall not have authority to grant a remedy involving pay or benefits which shall not
   exceed the period for which the grieving party was out of work.              ~

          (f)     In the event of the failure of either party to be present at the time and place           i
   designated for the arbitration after being duly noticed and no good cause for failure to appear
   submitted in advance, then the Arbitrator shall have the right to listen to the party appearing at       t
                                                   12
   LAXQ 1_31723881 v2


                                              Exhibit 2, p. 50
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 51 of 63 Page ID #:270




    the time and place for arbitration and shall have the power to render a decision based on the
    testimony presented.

            (g)     The decision of the Arbitrator shall be final and binding upon the parties.
    Notwithstanding anything to the contrary in this Agreement, if either party contends the other
    has failed to comply with the decision of the Arbitrator within the time limits specified by the
    Arbitrator, or if no time limits specified, within 10 business days of the issuance of the award,
    the grieved party may give 10 business days’ written notice to the breaching party. If the
    breaching party does not comply, the grieved party may petition the Arbitrator for appropriate
    remedy.
           (h)    The compensation of the Arbitrator, as well as the cost of any court reporter and
    hearing room, shall be shared by the Employer and the Union splitting the costs equally.

                             ARTICLE 13 — SUCCESSORS & ASSIGNS

           (a)   If the Employer merges, acquires or purchases control of the business of another
   employer, with operations in the state of California, the Employer agrees to bargain with the
   Union as to the seniority of the employees within the classifications covered by this Agreement
   of the employer so acquired or purchased.
           (b)     This Agreement shall be binding upon the parties hereto, their successors,
   administrators, executors and assigns. In the event the operations covered by this Agreement, in
   whole or in part, are sold, leased, subcontracted or otherwise assigned by the Employer, a
   condition of any such transaction shall be that the operation so transferred shall continue to be
   covered by this Agreement, and employ Bargaining Unit employees to the extent required in
   accordance with their seniority. The Employer shall give notice of the existence of this
   Agreement to any purchaser, transferee, lessee, assignee or entity of the operation covered by the      r
   Agreement or any part thereof. The notice will be in writing with a copy to the Union no later
   than thirty (30) days prior to sale. The Employer shall not be liable to the Union or to the
   Employees covered for any damages sustained as a result of any failure by the purchaser,
   transferee or lessee to assume the obligations so long as the Employer identified it as a condition
   of sale. In the event of any failure by the purchaser, transferee or lessee to assume the
   obligations of the Agreement, the Union shall solely have recourse against the purchaser,
   transferee or lessee.
           (c)     It is understood by this Section that the parties hereto shall not use any leasing
   device to a third party for the express purpose of evading this Agreement. The Employer shall           *
   not operate, maintain or conduct any establishment or place of business for the express purpose
   of evading the terms of this Agreement. If the Employer hires or converts its operation, or part
   thereof, to any independent contractor or owner-operators procedure, except as set forth in
   Article 14 (Work Jurisdiction), these independent contractors and/or owner-operators shall be
   considered Employees and be subject to this Agreement.

            (d)     Except as provided for in subsection (a), whether it is a purchase, merger, or         i;
    acquisition, the employees involved shall retain their overall seniority for all fringe benefits for
    the Bargaining Unit.

                                                    13
    LAXO1 _31723881v2


                                            Exhibit 2, p. 51
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 52 of 63 Page ID #:271




                              ARTICLE 14 — WORK JURISDICTION

           Bargaining Unit work shall include all job assignments currently performed by the
    Bargaining Unit, and such additional work assignments as are assigned to such employees in
    accordance with the Company’s business needs. Work currently performed by the Bargaining
    Unit shall not include trips to Lancaster and San Diego at this time, but the Company and the
    Union agree that the issue of these runs may be the issue of bargaining at a later date if work in
   one or both of these areas increase substantially. The Company and the Union acknowledge that
   other assignments and runs may become necessary during the period of the Agreement which the
   Company determines, based on legitimate business needs, should be performed by
   owner-operators or third-party carriers and which will be the subject of bargaining prior to the
   Company’s implementation of any such runs or assignments. After bargaining, if the parties are
   unable to reach an Agreement on any of the issues in this Article, either party may seek a remedy
   through Article 12 of this Collective Bargaining Agreement. The foregoing notwithstanding,
   both parties agree that Bargaining Unit work as defined in this Article shall be performed only by
   Bargaining Unit employees covered by this Agreement, and shall not be subcontracted,
   transferred, leased, diverted, assigned, conveyed or otherwise performed, in whole or in part, by
   any other person, including non-Bargaining Unit employees or supervisors of the Employer
   except as set forth herein below; provided, however, the Company may use non-Bargaining Unit
   carriers or owner-operators on a temporary basis for increased work assignments and/or until
   acceptable Bargaining Unit employees can be hired for open positions. Bargaining Unit work
   does not include those job assignments or runs currently assigned to owner-operators and/or
   third-party carriers.

           It is not the purpose of the foregoing provision to require the Company to increase the
   work force, or purchase or lease additional, new, or special equipment. It is also not the purpose
   of the foregoing to require the Company to cease using or reduce the use of owner-operators
   and/or third-party carriers. However, the parties agree that the Company shall maintain the
   current level of staffing unless there is a decrease or loss of current Bargaining Unit work due to
   business needs and the Company will only increase staffing as supported by business needs.

                          ARTICLE 15 — MEAL AND REST PERIODS

          The Company shall permit all employees to take any and all meal and rest periods that
   the employee is entitled to by law. All meal breaks shall be unpaid by the Employer. The rest
   periods shall be included with the employee’s regular shift and no deductions shall be made from
   wages. Employees may not leave a load unattended to take a meal or rest break. Employees
   must advise dispatch when they begin and end their meal period.

                                     ARTICLE 16 — PARKING

           Employees will be allowed to park their personal vehicles on Company property to the
   extent spaces are available. If no spaces are available, the Employee shall be permitted to park
   his or her personal vehicle in the space of his or her assigned Company tractor during the
   Employee’s shift. Employees will not be assigned designated parking spaces.



                                                   14
   LAXO 1_3172388! v2


                                           Exhibit 2, p. 52
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 53 of 63 Page ID #:272




                            ARTICLE 17 — SANITARY CONDITIONS

            The Employer shall comply with all applicable Federal and CAL-OSHA laws and
    regulations pertaining to occupational health and safety.

          The Employer, the Union and all employees shall cooperate fully in all efforts to
   maintain a safe and sanitary work place.

                                      ARTICLE 18 — SAFETY

          The Company and the Union mutually agree that safety is a primary concern and that in
   the event Bargaining Unit employees are required to attend a safety meeting, or any other
   mandatory meeting, they will paid at the applicable contractual hourly rate of pay.

                                     ARTICLE 19 — SMOKING

         In keeping with the Company’s intent to provide a safe and healthful work environment,
   smoking in the workplace is prohibited.

          This policy applies equally to all employees, customers, and visitors. Where required by
   law, the Company will provide designated smoking areas for employees to use during rest and
   meal periods.
                            ARTICLE 20 — NON-DISCRIMINATION

         The employer agrees that it will not discriminate against an employee or applicant for
   employment for any reason prohibited by state or federal law.

               ARTICLE 21 — EXAMINATION FEES & IDENTIFICATION FEES

           (a)     Physical, mental, or other examinations required by federal, state or local agency
   or the Employer, shall promptly be complied with by all such employees, provided, however, the
   Employer shall pay for all such examinations. Employees must schedule non-working time to
   obtain and/or maintain his or her medical card and the Employer will not compensate employees
   for this time. All pre-employment examinations shall be paid for by the Employer. The
   Employer shall pay for all Company-required drug tests and compensate the employee for any
   time he or she is reasonably required to spend to complete the test, but, if the employee is at the
   clinic for more than one and one-half, but less than, two hours, he or she must call dispatch and
   advise the Dispatch Manager that the test is going to take longer than two hours and request
   further instruction. If the employee fails to call in he or she shall only be paid for two hours.

           (b)    All employees must carry personal identification and all licenses and
   documentation and log books required by die DOT or California or federal law while at work.
   Employees are responsible for maintaining as current all personal identification and licenses,        ;
   including, but not limited to, a Class A Driver’s license. Any tests or appointments necessary to
   keep such licenses or documentation current must be done on the employee’s own time and the           s-
   Employer will not compensate employees for time spent renewing such licenses or

                                                   15
   LAX01_31723881v2

                                           Exhibit 2, p. 53
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 54 of 63 Page ID #:273




   documentation.    The Employer shall bear the cost of maintaining each employee’s
   Transportation Worker Identification Card (TWIC).

                                    ARTICLE 22 — EQUIPMENT                                                i

           Any necessary expenditure or loss the Employer requires the Employee to have or
   purchase in direct consequence of the discharge of his or her duties, or of his or her obedience to
   the direction of Employer, shall be purchased by the Company or reimbursed to the Employee if
   purchased by the Employee. Such reimbursement does not extend to those expenses or losses
   not discharged in direct consequence of Employee’s duties for the Company, such as those
   generally necessary to being a commercial driver, and including, without limitation, drivers’
   license certification or recertification or any other expenses associated with obtaining or
   maintaining a valid commercial drivers’ license.

                          ARTICLE 23 — MINIMUM DAY GUARANTEE

           Guaranteed Hours: All employees shall be guaranteed at least eight (8) hours of work
   every day he or she signs on and there is available work that day. Any employee that reports for
   work within 30 minutes of his or her start time and for whom there is no available work that day
   shah receive four (4) hours’ of pay at the employee’s straight-time rate of pay. Employees are
   expected to contact dispatch promptly upon arrival to determine if work is available. Any
   employee that reports to work more than 30 minutes late shall be paid for all hours worked, but
   shah only be guaranteed two hours’ pay at the employee’s straight-time rate of pay. Nothing in
   this Article precludes discipline pursuant to the Company’s attendance policy.

           ___________
           Overtime Hows: The overtime shall be at the rate of the employee’s straight-time
   rate plus half of the employee’s straight-time rate (time and one-half (l'A)). The overtime rate
   will be paid to all employees covered by this agreement for all hours worked over forty (40)
   hours in a single week. The overtime rate of pay will be based only on the driver’s hourly,
   straighttime rate and will not include incentive pay, shift differential pay or any other form(s) of
   compensation.
                       ARTICLE 24 — .JURY DUTY & COMPANY WITNESSES

           (a)    An employee who is summoned and reports for jury duty shall receive the
   difference between eight (8) hours’ pay at his or her hourly rate of pay, less any pay received for
   performing jury duty for up to seven (7) days. The Employer may require written proof that the
   employee reported for and served on jury duty for the days in question.

           An employee summoned for jury duty should notify his or her supervisor of such
   summons and provide the supervisor with a copy of the summons. The employee may be asked,
   due to work flow, to postpone jury service. In that event, the employee’s supervisor will provide
   a letter to the court to request postponement. Unless otherwise advised, an employee on jury
   duty should return to work if dismissed early or excused from jury duty any day.

          (b)     Any employee required to appear in any court or administrative agency at the
   request of the Employer or at summons of any court or administrative agency as a result of some
                                                                                                              !
                                                    16
   LAX01_31723881 v2

                                           Exhibit 2, p. 54
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 55 of 63 Page ID #:274




    action taken on behalf of the Employer, shall be paid in foil for any lost time in the manner
    described in Section (a) above.

            An employee who is subject to a subpoena to appear in court as a witness unrelated to a
    request, or any action taken, by the Employer will be given time off for this purpose, provided
    that he or she provides the Company with reasonable advance notice by delivering a copy of the
    subpoena to his or her supervisor.

           Voluntary witness appearance on Company time must be approved, in advance, by the
    employee’s supervisor. If time off is approved, it will be unpaid. An employee volunteering to
    appear as a witness may use accrued, but unused vacation benefits for this purpose.

                             ARTICLE 25 — BEREAVEMENT LEAVE

            In the event of the death of an employee’s parent, grandparent, spouse, child, grandchild,
    sibling, mother-in-law, father-in-law, brother, sister, step-children or step-parents, the employee
    shall be granted a leave of absence with pay from the day of death until and including the day of
   the funeral not exceeding three (3) work days. In the event the funeral service occurs outside of
   the state of California, the employee may be granted up to an additional five (5) days of unpaid
   leave to attend the service. Bereavement leave is not compensable when an employee is on a
   leave of absence, vacation, holiday, sick leave, workers’ compensation leave, state disability,
   jury duty or lay-off.

          Additional unpaid funeral leave up to a period of ten (10) days upon request of the
   employee at the discretion of the supervisor absent unusual business needs or staffing
   requirements.

                               ARTICLE 26 — LEAVE OF ABSENCE

           (a)    Employees who have been continuously employed by the Employer for at least
   one (1) year and who do not otherwise qualify for a legally-mandated leave of absence may be
   granted an unpaid personal leave of absence at the Employer’s sole discretion, for such purposes
   as family emergencies or other personal reasons. Requests for personal leaves of absence will be        ;
   considered on the basis of the reason for the request, length of service, responsibility level, the
   anticipated general business schedule and workload, the Employer’s ability to assign duties to
   other employees and/or obtain temporary replacement personnel and whether other individuals
   are already out on leave.
                                                                                                           {■

            (b)     All requests for leave should be submitted in writing to the employee’s supervisor
   at least thirty (30) days before the beginning of a leave, if possible. Otherwise, requests for leave
   should be submitted in writing as soon as practicable before the beginning of the requested leave.
   All leave requests must indicate the general reason for the leave, the requested starting date of
   the leaver and the anticipated date of return. If approved, a personal leave^of absence under this
   Article related will be for a reasonable period of time not to exceed thirty~(30) days, unless in
   connection with an incarceration or due to a citizenship requirement; then the request can be for
   the foil time needed, but may, in the Company’s sole discretion, be denied. The employee may
   request a personal leave to be extended for a reasonable period of time for up to an additional
   thirty (30) days, and no leave under this Article shall exceed sixty (60) days total. All leaves of
                                                     17
   LAX0I_31723881v2


                                            Exhibit 2, p. 55
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 56 of 63 Page ID #:275




    absence are up to the sole and absolute discretion of the Company and shall be approved or
    disapproved on a case-by-case basis. A request for such an extension must be in writing and
    approved before the extension begins.

           (c)   An approved leave of absence will not result in the loss of seniority rights;
   provided such leave does not exceed 60 days, at which point the employee will forfeit all
   seniority. Employees going on leaves of absence are expected to maintain their membership in
   the Union in good standing, but the Employer shall have no responsibility or obligation to
   require employees to maintain such membership.

           (d)     One employee at a time may take a leave of absence to participate in union
   business provided it does not disrupt the Company’s business operations, in the sole and absolute
   discretion of the Company. Such a leave must be confirmed in writing by the Union no later
   than ten (10) days in advance of the proposed leave of absence. If approved, the leave will be for
   a reasonable period of time not to exceed thirty (30) days, and with prior approval, may be
   extended for a reasonable period of time not to exceed an additional thirty (30) days. The
   employee on a leave of absence for union business shall maintain full seniority rights upon return
   to the bargaining unit. While on leave of absence for union business, the employee may not
   work for any other employer, other than the Union.

           (e)    If the employee accepts other employment or fails to return to work on the next
   regularly scheduled workday following the expiration of his or her leave, it will be considered
   that the employee has voluntarily terminated his or her employment.

           (f)     While on a personal leave, including a leave of absence pursuant to subsection (d)
   set forth herein, an employee will receive any and all benefits required by law. An employee on
   a personal leave will be required to pay the full cost of all insurance premiums. The amount of
   premium payments and payment schedule will be provided to the employee at the time of the
   granting of the personal leave. Employees will be required to use all accrued and unused
   vacation benefits during a personal leave. Employees on personal leave will not receive or
   accrue any discretionary benefits which are based on length of service, such as vacation, sick
   leave, and holidays.

          (g)    An employee who is unable to report to work because of an arrest or incarceration
   and promptly notifies his or supervisor, will be placed on a personal leave of absence, unless the
   Company’s business needs dictate otherwise. If the employee is unable to secure bail, the
   Company reserves the right to extend the discretionary personal leave until final disposition of
   the charges against the employee unless doing so would negatively affect the operations of the
   Company or business dictates an alternative resolution of the matter.

          (h)     The Company may make an effort to hold the employee’s position open for the
   period of the approved leave, however, reinstatement is not guaranteed.

          (i)    An employee may not take more than one (1) non-legally mandated leave of
   absence under this Article in any consecutive two (2)-year period.
                                                                                                        !■




          (j)     Exercise of the Company’s discretion as provided herein does not constitute a
   breach of this Article and/or the Agreement.
                                                  18
   LAX01_3172388 lv2


                                          Exhibit 2, p. 56
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 57 of 63 Page ID #:276




                                     ARTICLE 27 — PAID HOLIDAYS

             Paid Holidays'.          All employees shall enjoy the following ten (10) paid holidays per
    year:

                       1.   New Year’s Day (January 1st or observed day)

                       2.      President’s Day (3rd Monday in February)

                       3.   Memorial Day (last Monday in May)

                       4.   Independence Day (July 4th or observed day)

                       5.   Labor Day (First Monday in September)

                       6.   Thanksgiving Day (Fourth Thursday in November)

                       7.   Christmas Day (December 25th or observed day)

                       8.   Three (3) Personal Days

    The Company and the Union may substitute the above holidays for an alternative day through
    mutual agreement.

             Holiday Pay: Holiday pay shall be eight (8) hours of pay at the employee’s hourly rate
   of pay.

           Holiday Eligibility: Each non-probationary employee is eligible for the above holidays.
   Any employee working on any of the above holidays or the observed day(s) shall receive holiday
   premium pay, which for the purpose of this provision is identified as one and one-half times the
   driver’s hourly rate. If a holiday falls on either a Saturday or Sunday it shall be observed either
   the Friday immediately preceding or the Monday immediately following.

           Extra Work Holiday work shall be offered to drivers on the basis of seniority. If an
   insufficient number of drivers volunteer to work based on seniority; the employer reserves the
   right to fill the necessary slots in inverse seniority order. Example: “Ask the top, force the
   bottom.” Any employee who refuses to work a holiday pursuant to this Article is subject to an
   Attendance Occurrence and/or whatever applicable discipline pursuant to the Company’s
   attendance policy, which it may in its sole discretion, revise in accordance with its business
   needs.

           Personal Holidays'. All non-probationary employees shall be entitled to receive
   three (3) paid personal days per contract year during the life of this Agreement. The Company
   reserves the right to approve the date(s) of the requested paid personal days. Personal holidays
   will be scheduled and approved in'Sccordance with business needs, but if a driver requests a
   personal day(s) and the Company is unable to grant the day before the end of the calendar year
   the employee shall be paid for the day(s). The employee must give five (5) working days’
   notice, of his or her request to take a personal day. The employer will give at least

                                                      19
   LAX0I_3172388 lv2
                                                                                                           I.
                                               Exhibit 2, p. 57
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 58 of 63 Page ID #:277




    two (2) working days’ notice to the employee answering their request to take a paid personal
    day. Personal days shall be counted as “hours worked” for purposes of calculating overtime in
    accordance with the terms of this Agreement. Any unused personal days shall be forfeited at the
    end of the Calendar year. In the event of an unexcused absence, the Company reserves the right,
    in its sole discretion, to utilize available personal days, if the employee does not have any
    accrued, but unused vacation days remaining.

                                     ARTICLE 28 — PAID SICK DAYS

             All non-probationary employees are entitled to six (6) paid sick days per each calendar
    year.

           Pay for Sick days: Sick pay shall be eight (8) hours of pay at the employee’s hourly rate
    of pay. A maximum of three unused sick days shall be paid out at the end of the calendar year
    and the remainder, if any, will be forfeited.

          In the event an employee takes a sick day during a week in which he or she works, the
   sick day shall be counted as “hours worked” for purpose of calculating overtime in accordance
   with the terms of this Agreement.

                                           ARTICLE 29 — VACATION

          Vacation Accrual: A non-probationary regular driver shall accrue vacation time with pay
   based on the following schedule:

                        Years of Service                        Weekfsl of Paid Vacation
                          After 1 year                           1 Week (5 days)
                         After 2 years                           2 Weeks (10 days)
                         After 7 years                           3 Weeks (15 days)                     !'
                         After 15 years                          4 Weeks (20 days)
                                                                                                       I-

            Drivers accrue vacation benefits on a daily basis, based upon actual working days except
   as otherwise set forth herein. Work days absent for paid vacation, paid holidays, paid sick days,
   paid funeral leave and jury duty will be counted as days worked for purposes of this provision,
   but vacation time does not accrue during unpaid leaves of absence or other periods of inactive
   service.

           Vacation Paw. Vacation pay shall be paid at eight hours per day at the employee’s hourly
   time rate. Any earned but unused vacation time shall be paid out as set forth herein.

          Scheduling: Employees will be able to select vacation(s) preferences during a specified
   period of one week of vacation scheduling in January of each year, which the Company will           ;•
   announce such time for vacation scheduling in .advance. If vacation is not selected by an
   employee during this period of time for the upcoming year, the employee will only be able to        ;•
   schedule vacation at later periods on a first come, first served basis, based on business needs.
   Seniority shall prevail in determining vacation preference. While seniority shall prevail in
   determining vacation preference, a senior driver will not be allowed to “bump” junior drivers
                                                    20
   LAXO1 _31723881 v2


                                               Exhibit 2, p. 58
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 59 of 63 Page ID #:278




    once the vacation has been scheduled. The Company will determine the number of drivers that
    may be off at any given time. When the vacation period has been scheduled, the time for taking
    such vacation(s) shall not be changed unless the change is mutually agreed upon between the
    employee, the Company and the Union.

           Company Schedulim: The Company reserves the right to schedule vacation days where
   an employee has additional accrued time he or she has not scheduled as part of the vacation
   scheduling in January, but only after the Company has provided the employees with notice of
   such intended scheduling and at least a two-week period for the employee to elect to schedule his
   or her remaining vacation. If the Company does schedule vacation days for an employee
   pursuant to this Article, such scheduled vacation days will be scheduled in the last quarter of the
   calendar year. In the event of an unexcused absence pursuant to the Company’s current
   attendance policy, the Company reserves the right, in its sole discretion, to utilize and pay out to
   the employee one day of accrued, but unused vacation for each day of an unexcused absence. If
   the employee has other available paid time off eligible for use, he or she may use this paid time
   off rather than a vacation day.

             Vacation Rules:

                       1.   Vacation time of a week or more may be used for an extended illness.

                    2.     If holidays fall during the vacation period, the employee shall receive an
            extra day’s vacation with pay.

                    3.     In the event an employee takes a vacation day during a week in which he
            or she works, the vacation day shall be counted as “hours worked” for purposes of
            calculating overtime in accordance with the terms of this Agreement.

                   4.      Any employee may request or may be requested to work during his or her
            vacation, when agreeable by both parties (employee and Company) and when there is a
            shortage of manpower. The employee may reschedule his or her vacation for another
            time. In the event there is no mutually-agreeable alternative vacation week(s) available,
            the employee shall be paid for his or her vacation.

                       5.   Any employee may take single vacation days.

                  6.       Accrued vacation pay shall be paid within two (2) weeks to all employees
            who quit, are discharged or are laid-off along with the employee’s final paycheck.

                   7.       In case of death of an employee, the vacation pay due the employee shall
            be paid to the employee’s estate within two (2) weeks after legal proof of death.

                               ARTICLE 30 — HEALTH AND WELFARE

           Section 1. Designation of Plans: The Company shall, subject to all provisions of this
   Article, provide coverage to a qualified full-time employee and to his/her dependents, under the
   Company’s medical, dental and vision benefit plan.

                                                   21
   LAXO1 _31723881v2


                                            Exhibit 2, p. 59
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 60 of 63 Page ID #:279




            Section 2. Qualified Employee Defined: A qualified employee shall:

                    (1)    have at least three (3) months’ seniority since his/her most recent date of
            hire, and passed all the training and be fully qualified and scheduled to operate on his/her
            own;
                                                                                                               .   i

                   (2)     have made through payroll deduction, all contributions required under
            Sections 3 Section 3 and 4 of this Article; and

                   (3)     be a bargaining unit member who has worked or received pay for at least
            eighty (80) straight-time hours during the calendar month for which benefits are being
            provided.

           Section 3. Employee and Dependent Coverage: Employee and Dependent coverage (if
   employee elects dependent coverage and their required contribution is made by employee) shall
   begin on the first day of the third month following employee’s date of employment; provided he
   or she has not been employed for at least three (3) months within the last 12 months of his or her
   recent hire date. Date of employment shall mean the date on which the employee works more
   than four (4) straight-time hours in the employment of the Company and is paid wages for such
   work. All benefits shall terminate on the last day of the month of termination, subject to
   employee’s voluntary election to continue coverage at employee’s sole cost (COBRA election).
   Last day of employment shall mean the last day on which the employee works any straight-time
   hours for which employee is paid wages for such work.

           Section 4. Required Contribution for Group Health Plan: The Company shall contribute
   the percentage listed below on behalf of the employee and the dependents of the employee. The
   employee shall contribute the remaining percentage on behalf of the employee and the
   dependents of the employee. The employee may waive coverage by completing a Waiver of
   Coverage form and providing a certificate of medical insurance from another qualified “Group”
   Health Plan.
          Section 5. Employee Contribution: Effective with the first (1st) day of the first (1st)
   calendar month commencing after the ratification of the Agreement, a qualified employee shall,
   through payroll deductions, contribute the amount shown in this Section toward the cost of the
   premium for selected coverage:
                                            Monthly Employee
           Toll Health Plan                   Contribution                Monthly Toll Contribution

       Employee                                    5%                                95%
       Employee +1                                 10%                               90%
       Employee and Family                         10%                               90%


           Section 6. Optional Internal Revenue code Section 125 Plan: The Company shall offer
   an optional health benefits only Section 125 Cafeteria Plan to employees.


                                                    22

   LAX01_31723881 v2                                                                                       ;
                                                                                                           i
                                             Exhibit 2, p. 60
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 61 of 63 Page ID #:280




            Section 7. Expiration: Upon expiration of this Agreement the Company will have the
    option to pursue other medical benefit plans.

            Section 8. National or State Health Care System: In the event the Employer is eligible to
    participate in any National or State Healthcare System the parties agree to reopen this Section for
    further negotiations.

                                       ARTICLE 31 — WAGES

            Wage Rates for Non-Probationary Employees:

                                January 1,2013              Ann Year 1               Ann Year 2
   Day Shift                        $19.00                   $19.50                    $20.00
   Night Shift*                     $19.75                   $20.50                    $21.00

   * All drivers who are scheduled to start work after 5 pm and before 5 am shall be considered
   “Night Shift” drivers.

            Drivers will receive incentive pay based upon 25% of the current incentive pay schedule.

          One-Time Signing bonus for each Employee of Eight Hundred Dollars ($800) is to be
   paid within fifteen (15) days of the ratification of this Agreement.

           For purposes of overtime, as set forth in this Agreement, the overtime rate of pay will be
   based only on the driver’s hourly, straight-time rate and will not include incentive pay, shift
   differential pay or any other form(s) of compensation.

                                          Economic Re-Opener

           The Employer and the Union recognize that within the Ports of Los Angeles and Long
   Beach the Employer faces competition from drayage firms that have not agreed to fair wages and
   working conditions. The parties believe that the wages, benefits and working conditions
   contained in the present agreement are fair and equitable under current market conditions, but
   recognize that improvements may be possible in light of ongoing market developments,
   including the Union’s intent to organize all trucking firms in both Ports.

           The Employer and the Union agree that, upon presentation by the Union of evidence that
   Union has been recognized as the exclusive bargaining representative for port drayage trucking
   firms whose combined truck fleets, operated by both independent owner-operators or employees,
   is equal to 50 percent of the gate moves at the Ports of Los Angeles and Long Beach combined,
   Article 31 of the current collective bargaining agreement will, upon the Union’s request, be
   reopened for negotiations. The parties agree to meet within thirty (30) days of the Union’s
   request.

                       ARTICLE 32 — TEAMSTERS PENSION PLAN (SUMMARY)

           Section 1. All Compensable Hours: Effective [Effective Date] the employer shall pay
   into the western Conference of Teamsters Pension Trust on account of each member of the
                                                   23
   LAX01_3172388 lv2


                                            Exhibit 2, p. 61
Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 62 of 63 Page ID #:281




    bargaining unit for each hour of which compensation was paid. The hourly contribution rate
    shall be $1.00 per compensable hour. On [Anniversary Year 1] the employer shall increase the
    contribution into the Western Conference of Teamsters Pension Trust to an hourly contribution
    rate of $1.00 per compensable hour. On [Anniversary Year 2] the employer shall increase the
    contribution into the Western Conference of Teamsters Pension trust to an hourly contribution
    rate of $1.50 per compensable hour.

                       [Effective Date] $ 1.00 - one dollar per hour worked
                       [Anniversary Year 1] $1.00 one dollar per hour worked
                       [Anniversary Year 2] $1.50 one dollar and fifty cents per hour worked

             Section 2. Remittance of Pension Wages: The total amount due for each calendar month
    shall be remitted in a lump sum not later than fifteen (15) days after the last business day of each
    month. The employer agrees to abide by such rules as may be established by the trustees of said
    trust to facilitate the determination of the hours for which contributions are due, the prompt and
    orderly collection of such amounts and the accurate reporting and recording of such amounts
    paid on accounts of each member of the bargaining unit. Failure to make all payments herein
    provided for, within the time specified, shall be a breach of this Agreement.

           Section 3. Break-in Rate for Probationary Employees: (Applicable to all employees
    covered by this agreement serving a probationary period.)

                    For probationary employees hired on or after [Effective Date] the employer shall
            pay an hourly contribution rate of $0.10 per hour during the probationary period as
            defined in Article 7 Section (a), but in no case for a period longer than 90 calendar days
            from an employee’s first date of hire. Contributions shall be made on the same basis as
            set forth in Article 32 Section 1 of this agreement. After the expiration of the
            probationary period as defined in Article 7 Section (a), but in no event longer than
            90 calendar days from an employee’s first date of hire, the contribution shall be increased
            to the full contractual rate.

           Section 4. Non Liability Clause: Except as required under the Agreement and
   Declaration of Trust, to which the Employer and the Union are both signatory, and Section 4201
   et seq. of the Employee Retirement Income Security Act of 1974, as amended, it is understood
   that the employer will not be liable or assume any responsibility except to remit and forward
   such contributions to the Western Conference of Teamsters Pension Plan.

                        ARTICLE 33 — FULL AND COMPLETE AGREEMENT

           This Agreement represents the sole and complete Agreement between the parties and
   supersedes all agreements, understandings and practices effective prior to the date of this
   Agreement, whether the same were based on implication, written or oral agreements or other
   factors. The Bargaining Unit employees must comply with Employer’s policies and procedures
   that do not conflict with this Agreement, as outlined in Article 10 Company Rules and Postings
   and Article 8 Management Rights.

                                                                                                           !
                                                      24
   LAX01_31723881 v2


                                              Exhibit 2, p. 62
    Case 2:18-cv-03054-ODW-AS Document 16-4 Filed 05/18/18 Page 63 of 63 Page ID #:282




                                      ARTICLE 34 — SAVINGS CLAUSE

                Nothing contained in this Agreement is intended to violate any federal or state laws, rules
        or regulations made pursuant thereto. If any part of this Agreement is construed to be in such
»       violation, then that part shall be null and void and the parties agree to bargain in good faith to
        amend it.

                                         ARTICLE 35 — DURATION

                Section 1. Effective Date: This agreement shall be in force and effect from January 1,
        2013, through December 31, 2015.

                Section 2. Renewal: It is the intent of the parties that a successor Agreement to this one
       shall be completed prior to the expiration date provided in Section 1 of this Article, and that all
       of the terms of such successor Agreement be agreed upon without any interruption of the
       Company’s business and without either the Company or the Union engaging in economic
       activity against the other. The Company and the Union thereof agree to commence negotiations
       on a successor Agreement sufficiently in advance of the expiration date provided in Section lof
       this Article to allow for settlement to be reached. In the event the parties are bargaining in good
       faith beyond the expiration of the date provided in Section 1, the parties agree that there shall be
       no interruption in the Company’s business as a result of the inability to ratify a new Agreement
       prior to said expiration date.

              IN WITNESS THEREOF, the duty chosen have authority to enter into this Agreement on
       behalf of themselves and their principals and representatives of the parties hereby affirm that
       they hereto affix their hands.

       FOR THE COMPANY:                                     FOR THE UNION:
       TGF Management Group Holdco, Inc.                    Teamsters Local 848
       Doing business as Toll                               Wholesale Delivery Drivers,
                                                            Salesperson, Industrial and
                                                            Allied Workers
                                                                                                              i




                            esident                         Eric Tate - Secretary Treasurer


                                                            Date              5/0
                                                                                                              ;•

       Rich Nazzaro - Vice-President West Coast             Preston Richie - Business Representative


       Date                                                 Date


                                                       25
                                                                                                              i
       LAXO1 _31123881 v2                                                                                     :
                                                                                                              !
                                               Exhibit 2, p. 63
